 Case 2:19-cv-00554-RJS          Document 2     Filed 08/05/19   PageID.2      Page 1 of 75




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                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH



 LAURA A. GADDY, individually and on
 behalf of all others similarly situated,
                Plaintiffs,
                                                     PROPOSED CLASS ACTION
                    v.                                    COMPLAINT
 The Corporation of the President of the             (DEMAND FOR JURY TRIAL)
 Church of Jesus Christ of Latter-day Saints,
 a Utah corporation sole.
                                                     Case Number: 2:19-cv-00554-EJF
                Defendant.

                                                      Magistrate Judge: Evelyn J. Furse




    PROPOSED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                   1
 Case 2:19-cv-00554-RJS       Document 2      Filed 08/05/19   PageID.3   Page 2 of 75




                              TABLE OF CONTENTS
I. NATURE OF THE CASE                                                            4

II. PARTIES                                                                      5

III. THE MORMON CORPORATE EMPIRE                                                 7

   A. Paid General Authorities (GAs)                                             7
   B. Unpaid Local Leadership                                                    8
   C. Relevant Business Entities                                                 9
      i.     Bonneville International Corporation (BIC)
      ii.    Deseret Book (DB)
      iii.   Deseret News Publishing (DNP)
      iv.    Intellectual Reserve (IRI)
   D. The Mormon Educational Empire                                            11
      i.     The Mormon Church Educational System
      ii.    Missionaries
      iii.   General Conferences
      iv.    Mormon Educational Institutions
   E. The Mormon Corporate Empire’s Censorship                                 14

IV. JURISDICTION AND VENUE                                                     16

V. FACTUAL ALLEGATIONS                                                         16

   A. Mormon Background                                                        17
      i.    Mormon History
      ii.   Fundamental Mormon Beliefs
   B. The Mormon Empire’s False Representations of Material Fact               20
      i.    Smith’s First Vision
            a. False Official Narrative
            b. Historically Accurate Account of Smith’s First Vision
      ii.   The Origin of the Book of Mormon
            a. False Official Narrative
            b. Accurate Account of the Book of Mormon Creation
      iii.  Smith’s Translation of the Book of Abraham
            a. False Official Narrative
            b. Accurate Account of the Book of Abraham Translation
      iv.   Miscellaneous Misrepresentations of Material Fact


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                              2
 Case 2:19-cv-00554-RJS      Document 2      Filed 08/05/19    PageID.4       Page 3 of 75




   C. COP’s Specific Publications of False Representations of Material Fact        31
   D. COP’s Ongoing False Representations of Material Fact                         38
      i.    Misrepresentation of Material Facts Remain in Mormon Scripture
      ii.   Continuing Misrepresentation in Pictures Abound
   E. The Role of Missionaries in Spreading Mormon Empire Falsehoods               38
   F. Defendant’s Fraudulent Concealment of Mormonism’s True History               40

VI. FACTS SPECIFIC TO PLAINTIFF GADDY                                              43

   A. Raised in Mormonism                                                          43
   B. Gaddy’s Dedicated Service to the Mormon Corporate Empire                     45
   C. A Shocking Discovery Leading to Research on Forbidden Sites                  49

VII. CLASS FACTUAL ALLEGATIONS                                                     52

VIII. MAIL AND WIRE FRAUD ALLEGATIONS                                              55

IX. CAUSES OF ACTION:                                                              58

       1. COMMON LAW FRAUD                                                         58
       2. FRAUD IN THE INDUCEMENT…                                                 59
       3. BREACH OF EQUITABLY IMPOSED FIDUCIARY DUTIES                             62
       4. FRAUDULENT CONCEALMENT                                                   66
       5. CIVIL RICO —18 U.S.C. § 1962(c)                                          68
       6. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS                             72

X. PRAYER FOR RELIEF                                                               73

XI. JURY DEMAND                                                                    74


APPENDIX




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                 3
 Case 2:19-cv-00554-RJS          Document 2       Filed 08/05/19       PageID.5      Page 4 of 75




                                    I. NATURE OF THE CASE

1. This is a case brought by a former Mormon against the Mormon Corporate Empire, directed

   and managed by the Corporation of the President of the Church of Jesus Christ of Latter-day

   Saints™ (COP), for intentionally misrepresenting the foundational history of Mormonism.

2. This is not a claim for propagating false religious beliefs as part of the Mormon Church.

   Rather, it is a claim that the material facts upon which Mormonism is based have been

   manipulated through intentional concealment, misrepresentation, distortion and or

   obfuscation by the COP to contrive an inducement to faith in Mormonism’s core beliefs.

3. For almost 200 years, the COP, through its agent leaders, has represented Mormonism to be

   the restoration of the gospel of Jesus Christ, claiming that the divine authority essential to

   that gospel (Melchizedek and Aaronic priesthoods) was taken from the Earth after Christ’s

   crucifixion. It was purportedly restored hundreds of years later to Joseph Smith, Jr. (Smith),

   the founder of Mormonism. The true facts upon which this claim is made, as COP has

   recently and partially admitted, albeit in an intentionally limited and ever changing manner,

   contradict the orthodox narrative, that which is taught to its church members.

4. When the true facts are substituted for the longstanding false orthodox narrative, the story

   that emerges has shocked devoted Mormons who have made life-altering decisions based

   upon a scheme of lies.

5. This case seeks certification as a class action based upon the thousands of former Mormons

   who have been deceived by the COP through the Mormon Corporate Empire’s longstanding




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                             4
 Case 2:19-cv-00554-RJS          Document 2       Filed 08/05/19       PageID.6      Page 5 of 75




   lies about its history, including but not limited to how it was created and the origin of its

   scriptures.

6. This case presents a claim for calculable special damages as reimbursement for payments of

   cash and the value of services rendered by unwitting lay Mormons based upon false

   premises. Plaintiff and those similarly situated also claim general damages as reimbursement

   for COP’s reckless infliction of emotional distress, which has caused immeasurable

   emotional harm in the form of existential crises, suicides, broken families, insomnia, anxiety,

   and depression, of which COP and members of the Mormon hierarchy are acutely aware.

                                          II. PARTIES

7. Plaintiff LAURA A. GADDY (GADDY) brings this complaint on behalf of herself and all

   those persons similarly situated who have devoted their spiritual, educational, cultural and

   social life to the Mormon Corporate Empire.

8. GADDY’s allegations are based upon personal knowledge as to herself and her own acts and

   experiences, and as to all other matters, are based upon information and belief, including

   investigation conducted by her attorney.

9. GADDY is a citizen of Jacksonville, Onslow County, North Carolina.

10. COP is a corporation sole duly organized and operating since 1923 pursuant to the laws of

   the State of Utah. COP operates and advertises itself to the public as “the Church of Jesus

   Christ of Latter-day Saints.”™ Throughout history it has commonly been called the Mormon

   Church, as most recently demonstrated in the “I’m a Mormon” advertising campaign (2011-

   2013), which campaign was created by a COP public relations firm.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            5
 Case 2:19-cv-00554-RJS        Document 2       Filed 08/05/19      PageID.7     Page 6 of 75




11. COP is a holding company which owns and/or controls several for-profit businesses.

   Defendant is referred to as COP, its belief system as [mainstream] Mormonism and the entire

   corporate structure governing Mormonism (its subdivisions, dbas and subsidiaries, including

   but not limited to the Continuing Education System, Correlation Committee, Intellectual

   Reserve, Deseret Management and Bonneville International, local, national and global

   leaders, global temples and leadership) constitute the Mormon Corporate Empire.

12. COP oversees the Mormon Corporate Empire through a hierarchy of employees and agents

   described infra., and is headquartered in Salt Lake City, Utah. The Mormon Corporate

   Empire claims a membership of more than sixteen million worldwide. The COP has two

   primary functions: 1) to manage the tithing and other income received through activities

   performed within the Mormon Corporate Empire; and, 2) to ensure that all instruction to, and

   education of, lay local members including young missionaries, as well as potential members

   recruited by missionaries, are taught correlated Mormon principles and a whitewashed

   version of Mormon history. To ensure that all instruction and education is uniform, the COP

   has within its organization a division called the Church Educational System (CES) which

   also contains within it a Correlation Committee (CC) created to accomplish this goal.

13. COP operates meetinghouses or chapels across the United States and many other countries in

   the world, including several in North Carolina and one in Gastonia, North Carolina. Its

   principal place of business is 50 E. North Temple, Floor 20, Salt Lake City, Utah, 84150.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        6
 Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.8       Page 7 of 75




                       III. THE MORMON CORPORATE EMPIRE

14. The Mormon Corporate Empire is composed of distinct levels of participation: A) Paid

   General Authorities; B) Unpaid Local Leadership; C) Relevant Business Entities; and D) The

   Mormon Educational Empire.

                             A. Paid General Authorities (GAs)

15. The Mormon Corporate Empire is led by fifteen apostles, all of whom are male. According to

   the organization’s website, he who has been an apostle for the longest period is the president.

   Russell M. Nelson is the current president, sole officer and shareholder of the COP. The

   president selects two other apostles as counselors. These three apostles function as the First

   Presidency, the ultimate governing body of the Mormon Corporate Empire.

16. The Quorum of the Twelve Apostles (the Quorum) is the next highest-ranking governing

   body in the Mormon Corporate Empire, second only to the First Presidency. Together, the

   First Presidency and the Quorum are colloquially called “the Brethren,” and constitute the

   highest-ranking General Authorities (GAs) of the Empire. The Brethren are paid six figures

   annually by the COP. More importantly, upon information and belief, the Brethren are

   involved in the various businesses of the Empire, for which many, if not all, receive passive

   income and other benefits.

17. GAs besides the Brethren are the Presiding Bishopric (which leads the Aaronic, or lesser

   priesthood) and members of the Seventies, of which there are currently eight quorums. The

   quorums of the Seventy preside over worldwide geographic areas. Each man who is a

   member of the Seventy is also paid six-figures annually, along with other benefits.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                             7
 Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19       PageID.9     Page 8 of 75




                                 B. Unpaid Local Leadership

18. The Mormon Corporate Empire is organized at the local level by stakes, which in turn

   oversee several wards or branches; both are geographic units which are similar to a parish. (A

   branch is a quantitatively smaller version of a ward within the stake boundaries.) The stake

   president and his two counselors lead the stake. Stake patriarchs give formal written

   “patriarchal blessings” (promising future blessings if the young person lives according to

   Mormon principles). All stake leaders just listed are called to serve by GAs. Stake officers

   call bishops to serve in the wards and branch presidents to serve in the branches.

19. Each stake is a separate registered corporation sole under the North American Industry

   Classification System (NAICS). Historically, each stake had been considered a religious

   organization, while the COP was, and is, still listed as “other.”

20. The bishopric or branch presidency (which is composed of a bishop and his two counselors,

   or a branch president and his two counselors, respectively) is the leader of the ward or branch

   and is supported by a clerk and an executive secretary who respectively attend to the ward or

   branch’s financial and administrative concerns. Among those duties is the collection of tithes

   and offerings from ward or branch members.

21. These unpaid local leaders are independent from the COP in that they are not employees,

   However, they are subject to the direction of the COP’s paid employees. They are instructed

   to collect tithing and other funds, interview members for temple worthiness and for their

   eligibility to serve missions. In addition to the unpaid local leaders, mission presidents head

   the mission districts by supervising unpaid missionaries in the field around the world.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           8
Case 2:19-cv-00554-RJS          Document 2       Filed 08/05/19      PageID.10      Page 9 of 75




   Mission presidents receive a generous annual stipend from the COP and are called to serve in

   those positions by COP’s GAs.

22. At the age of twelve, all Mormon males are eligible to become members of the priesthood.

   Admission is granted upon professing belief in the truth of Mormonism, the Book of

   Mormon, its founder Smith and the current president of the COP as prophets and seers.

23. Per COP’s directive, the local lay leaders (stake presidents, bishops, branch presidents and

   their counselors and administrators) ensure that tithing and other money is collected from lay

   Mormons and remit the funds to the COP for use and expansion of the Mormon Corporate

   Empire. The local lay leaders also cultivate commitments to unpaid service by lay Mormons,

   whether during weekly indoctrination of other Mormons, or as missionaries across the world.

24. Upon information and belief and by contrast, in most non-Mormon churches, each local unit

   keeps what they collect. Those local churches pay just a small fee or assessment to the

   central organization. Conversely, and upon information and belief, in the Mormon Corporate

   Empire the bishop/branch president and his administrators, as agents but not employees of

   the COP, send the total amount of tithing collected to the COP. COP returns only a very

   small portion of what was collected to each local ward or branch for its support and local

   member needs.

                                 C. Relevant Business Entities

25. Deseret Management Corporation (DMC) is a private asset management holding company of

   for-profit businesses owned by the COP and an integral part of the Mormon Corporate




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            9
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.11       Page 10 of 75




   Empire. DMC's Board of Directors includes the First Presidency, and upon information and

   belief, three rotating members of the Quorum, and the Presiding Bishopric

                           i. Bonneville International Corporation (BIC)

26. BIC is a media and broadcasting corporation and wholly owned subsidiary of the COP

   through its for-profit subsidiary, DMC. It began as a radio and TV network out of Salt Lake

   City, Utah. BIC owns over a dozen stations in four major markets and an NBC affiliate

   television station in its home market; it also manages eight additional radio stations in two

   markets. Its Bonneville Communications division provides marketing strategy and branding

   services. Yet another division, Bonneville Distribution is engaged in broadcast syndication

   and distribution services to non-profit organizations. In 1980 BIC formed Bonneville

   Communications Corporation, primarily to broadcast General Conference, which is broadcast

   bi-annually by satellite from Salt Lake City, Utah, to all Mormons world-wide.

                                     ii. Deseret Book (DB)
27. DB is a for-profit corporation registered in Utah and a wholly owned subsidiary of DMC. DB

   engages in publishing and retail activities. Deseret Book Direct sells publications through

   catalogs, e-mail, and the DeseretBook.com website. All publications and other items sold

   through DB are approved by COP. In 2009 select Deseret Book locations partnered with the

   Mormon Church distribution center and began selling official Mormon Church items, such

   as temple garments, which had originally been available only in Mormon distribution centers.

                              iii. Deseret News Publishing (DNB)

28. DNP is a for profit company incorporated in 1931. It publishes the Desert News out of Salt

   Lake City, Utah.

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            10
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19        PageID.12    Page 11 of 75




                               iv. Intellectual Reserve, Inc. (IRI)

29. IRI is both a dba and a non-profit subsidiary of the COP. Incorporated in 1997, it holds

   trademarks and copyrights for COP’s intellectual property. Its domain is

   www.intellectualreserve.org. IRI owns the domain www.josephsmith.net which, as of July

   23, 2019, displays several portraits depicting Smith translating the Book of Mormon directly

   from gold plates. (See Attachment “E”.)

                            D. The Mormon Educational Empire

                           i. The Mormon Church Educational System

30. The Mormon Church Educational System (CES) includes several institutions which provide

   religious and secular education for both Mormons and unaffiliated students in elementary,

   secondary and post-secondary institutions such as the BYU campuses and the LDS Business

   College, as well as adult education programs. All types of instruction are limited to teaching

   only correlated materials approved by the CC.

                                         ii. Missionaries

31. Mormon missionaries are typically young men and women who come directly from high

   school as teens and are indoctrinated for two months by COP employees at a missionary

   training center (MTC). Retired married couples and older single women also serve. Most

   missionaries are raised in the Mormon Corporate Empire where they are taught Mormonism.

   After the MTC they are sent for a period of 18-24 months to a particular mission where they

   recruit others to join the organization. Like lay Mormon leaders, missionaries are also unpaid

   for their labors.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        11
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.13       Page 12 of 75




                                     iii. General Conferences

32. Twice a year in April and October, a world General Conference is held at LDS Temple

   Square in Salt Lake City (held today in the Conference Center adjacent to Temple Square),

   where the Brethren and various GAs speak. Upon information and belief, General

   Conference sessions are attended or watched via satellite by most all Mormons world-wide.

   At various times the GAs have made statements which have become an oft-repeated precept

   among Mormons to the effect that neither the prophet nor the Brethren, GAs, nor any of the

   Mormon leaders will ever lead the members astray. This promise is initially instilled in

   young children’s minds through song and continues to be emphasized throughout a

   Mormon’s life. The promise has been given to Mormons by the most prominent Mormon

   leaders since the days of Brigham Young (Young) and repeated in General Conference up

   through at least 2014.

33. Additionally, GAs have reinforced and adopted as their own, the writings of Smith.

   Specifically, they have represented that Smith’s claims are true, i.e., that he “translated” the

   Book of Mormon from golden plates and that he “translated” the Book of Abraham from

   Egyptian papyri. When in fact, these claimed translations are not a translation in any ordinary

   sense of the definition and instead are more accurately characterized as divinations or

   supernatural sensory perceptions. The COP’s misrepresentations include assertions by the

   Brethren that Smith’s translations are without error.

34. Mormons are encouraged to rely on the counsel of the Brethren, GAs and local Mormon

   leadership. Before they became GAs, most of these leaders were businessmen or


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          12
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19       PageID.14       Page 13 of 75




   professionals in such areas as law, medicine, business administration and organizational

   behavior. Upon information and belief, none of the Brethren or any of the GAs (e.g.

   members of the eight quorums of the Seventy), have advanced degrees in theology from

   anywhere other than COP-owned universities or colleges.

                               iv. Mormon Educational Institutions

35. COP owns several post high school academic institutions, the most well-known of which is

   Brigham Young University (BYU), which today has campuses located in Idaho and Hawaii,

   besides the original Provo, Utah campus. These three institutions are separate corporations

   under the auspices of the CES. LDS Business College is another educational institution

   owned by the COP. These institutions offer religious instruction limited to the study of

   Mormonism. Upon information and belief, throughout most if not all these institutions’

   academic histories, no class in comparative religion has been offered to the students at any of

   them.

36. COP also provides instruction for high school students ages 14-18. This instruction is called

   released time in Utah and early morning seminary in other states. In Utah, the buildings are

   located adjacent to public junior high and high schools. The curriculum is exclusively limited

   to instruction in Mormonism.

37. All Mormon educational institutions have regularly and exclusively taught, promoted and

   published the official false versions of Smith’s first vision, the false version of the origin of

   the Book of Mormon as a translation from gold plates inscribed by ancient Americans of

   Hebrew ancestry, and the falsity that the Book of Abraham was written by the Hebrew


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           13
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.15       Page 14 of 75




   prophet Abraham upon papyri about his life and teachings and that Smith accurately

   translated the papyri upon which the writings of Abraham were inscribed. Upon information

   and belief, they continue to do so.

             (See Attachment “A” Mormon Corporate Empire Organizational Charts)

                      E. The Mormon Corporate Empire’s Censorship

38. A uniform system of censorship is administered by the Board of Directors of the Church

   Educational System (CES). The CES Board consists of the First Presidency and the Quorum,

   along with a Commissioner of Education and several others in administrative positions.

39. Under the direction of the CES Board, the Correlation Committee (CC) compiles the content

   of all COP’s official publications, including but not limited to what is taught at the local

   levels (stakes, wards and branches), as well as the content of all missionary manuals and

   pamphlets used to instruct the missionaries and used in recruiting converts to the

   organization. In order to facilitate this function, the CES (through the CC) ensures that only

   correlated facts are taught by all professional and lay church leaders at all Mormon

   institutions, schools, and conferences, including Sunday School, Relief Society (women’s

   organization), Aaronic and Melchizedek Priesthood (men’s organizations), Young Men,

   Young Women (teen organizations for each gender) and Primary (children’s organization).

40. The CC was formed in 1960, under Harold B. Lee, then a member of the Quorum and

   subsequently president of the COP, in order to correlate substantially all published materials

   by the Brethren. Mormons are constantly reminded through the Empire’s various




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           14
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.16       Page 15 of 75




   communication methods to avoid reading anything other than correlated material concerning

   Mormon history.

41. COP, acting through the Brethren, who in turn act through the Board, has direct oversight of

   the CC. All departments which develop intellectual property for publication are subject to the

   CC’s approval.

42. At the direction of COP, CC censors all materials taught to Mormons by their lay local

   leaders from the ward pulpits and in weekly classes and to the missionaries in training who in

   turn teach the same false facts to potential converts. For at least sixty years, the CC has been

   the vehicle used to deliver COP’s intentionally misrepresented facts, which facts are material

   to Mormonism’s foundation and to the survival of the Mormon Corporate Empire.

43. Upon information and belief, admonitions have been given to CES instructors to teach only

   what is contained in correlated manuals and publications. “Lying for the Lord” is a phrase

   that has been used by former CES employees to describe the attitude of some CES employee

   administrators whereby employee instructors of young students have been told by their

   superiors in CES management and even apostles in the Quorum, to avoid discussion of

   controversial topics, because some things which are true are not very useful.

44. High-level employees in the CES have even suggested that disobedience to the edict to lie

   about Mormon history could result in the loss of an inferior’s employment. CES, under the

   direction of the COP, deceives and continues to disregard the historical truth of Mormonism.

   Thus, COP has control and censorship over what is taught to the Mormon students in the

   COP-owned educational institutions and Mormons at the local level.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         15
Case 2:19-cv-00554-RJS         Document 2         Filed 08/05/19     PageID.17       Page 16 of 75




45. Intellectual Reserve, Inc., (IRI) as both a corporate subsidiary and a dba of COP, is subject to

   the oversight of the CC. IRI owns the copyright and is often listed as publisher of

   educational material correlated by the CC.

                              IV. JURISDICTION AND VENUE

46. GADDY brings her Complaint under federal diversity authority, 28 U.S.C. §1332, as the

   parties are completely diverse in citizenship and the amount in controversy exceeds

   $75,000.00, exclusive of costs and interest.

47. Additionally, this Court has subject matter jurisdiction over Cause of Action V as a federal

   question arising under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18

   U.S.C. §1964(c).

48. This Court has pendent jurisdiction over Causes of Action I-IV and VI. Venue is proper in

   this District under 28 U.S.C. § 1391(b) because COP’s headquarters and principal place of

   businesses are located in this District and because a substantial portion of the acts and

   omissions alleged herein to have been committed by COP occurred or originated within this

   District.

                                V. FACTUAL ALLEGATIONS

49. GADDY brings this Class Action Complaint and Demand for Jury Trial (Complaint) against

   COP to obtain damages for herself and similarly situated persons injured by longstanding

   false statements of material fact and factual misrepresentations critical to the historical

   foundation of Mormonism. Said false statements and misrepresentations of historical fact

   have been and continue to constitute a fraudulent scheme perpetrated for generations by the


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          16
Case 2:19-cv-00554-RJS        Document 2       Filed 08/05/19      PageID.18      Page 17 of 75




   COP, through its employees and agents upon unwitting Mormons, as well as potential

   converts to Mormonism.

                                   A. Mormon Background

                                       i. Mormon History

50. Mormonism was established in upstate New York in 1830, and was founded by Smith, who

   claims to have found buried gold plates near his home in upstate New York. (1) According

   to Smith, the plates were engraved with the record of an ancient American civilization. The

   Book of Mormon, which was published in 1830, purports to be Smith’s translation of those

   plates.

51. The Mormons migrated from New York west through Ohio and Missouri, seeking to

   establish Zion, where they could live without persecution according to their unique beliefs.

   Those who have openly questioned Mormon beliefs are characterized by the Brethren, GAs

   and other Mormon leaders as “Anti-Mormon.”

52. As early as 1833, Smith began practicing polygamy, and other Mormon leaders followed.

   Smith’s polygamy was practiced in secret. According to §132 of the Doctrine and Covenants

   (D&C), another canonized book of Mormon scripture, Smith received a revelation telling

   him that he was to practice polygamy and his first wife was not to object or she would be

   damned.

53. In 1844 at Carthage, Missouri, Smith was killed by an angry Anti-Mormon mob.




1 The plates are variously referenced as gold or golden throughout Mormon history. For
convenience, gold is used throughout the Complaint.

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        17
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.19      Page 18 of 75




54. Smith was succeeded by Brigham Young (Young), who assumed leadership of those

   Mormons who continued to migrate west to the Salt Lake Valley.

55. In 1847, Young’s followers settled in the Salt Lake Valley, Deseret Territory. Thereafter, the

   Mormon Corporate Empire grew, acquiring real estate, creating businesses, and colonizing

   the land throughout the Deseret Territory. This group of Mormon pioneers and their

   descendants are considered the mainstream branch of Mormonism. Today they are

   concentrated in the State of Utah, though they are also found in high numbers in Idaho,

   Arizona and southeastern California; together this area is known as the Mormon Corridor.

                                ii. Fundamental Mormon Beliefs

56. Mormonism considers itself Christian, though many of its doctrines are foreign to basic

   Christian beliefs. It is nontrinitarian, meaning that God the Father, His Son Jesus Christ and

   the Holy Ghost are distinct entities. The first two of the godhead have perfected bodies like

   men.

57. According to Mormon beliefs we are all the literal offspring of God the Father, and therefore

   Jesus is our brother. A teaching espoused by founding prophet Smith in the King Follet

   Discourse is that all men have the potential to become gods of their own world, depending on

   one’s strict obedience to Mormon teachings, compliance with the Mormon temple ordnances

   and obedience to other Mormon principles. From that teaching a saying was coined by

   Lorenzo Snow, the fifth president of the Church: “Man is as God once was, God is as man

   may be[come].”




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        18
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.20       Page 19 of 75




58. Compared to chapels, where all are welcome, admission to Mormon temples is restricted.

   Gaining admission to participate in the ceremonies performed in a Mormon temple is a key

   requirement to be considered a faithful Mormon. The initial ceremony is called the taking out

   of one’s endowment, which is a pledge to commit your time, talents, and everything which

   you have or will have to the building up of Zion, aka the Mormon Corporate Empire.

59. A faithful Mormon must take out their endowment in order to qualify to serve a mission or to

   marry in the temple. Until 1990, the pledge included enacting a disembowelment pantomime

   to signify that if a temple Mormon violated the oath, s/he would suffer his or her life to be

   taken.

60. According to Mormon teachings, those families who are “sealed” in a Mormon temple will

   be worthy to continue their association and grow their families after death. This celestial

   marriage principle includes the notion of polygamous relationships for men.

61. Other key requirements for a Mormon to gain temple access and receive the blessings

   inherent in the Mormon motto that “families are forever” include: payment of a full 10% of

   one’s income as tithing, belief that Smith was a prophet of God, the wearing of special

   undergarments, as well as no identification with or sympathy for Mormon apostates and/or

   Anti-Mormons (those who were once Mormon but who have disassociated from the

   organization and speak out against it).

62. Mormonism’s foundational facts, as taught by the COP, are that after Jesus Christ was

   crucified, priesthood authority essential to the true gospel was taken from the Earth. This

   essential priesthood authority did not return until 1823, when (according to the orthodox


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            19
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.21       Page 20 of 75




   COP narrative) Smith had a vision of God the Father and Jesus Christ where the Lord told

   Smith that all religious creeds were false. This initial visionary experience has come to be

   known as Smith’s first vision and is characterized by COP propaganda as the seminal event

   which led to the restoration of the “fullness of the gospel” of Jesus Christ, the foundation of

   Mormonism which represents the Mormon Corporate Empire’s belief system.

63. Subsequently, an angel named Moroni (purported in life to be a warrior from the Nephite

   tribe on the American continent and who lived sometime after 600 BCE but before Christ’s

   appearance on the American continent in the “meridian of time”) appeared to Smith. Moroni

   told him he would receive gold plates which contained the history and teachings of this

   ancient American tribe and others, namely the Lamanites and Jaredites.

             B. The Mormon Empire’s False Representations of Material Fact

                                      i. Smith’s First Vision

                                    a. False Official Narrative

64. According to the orthodox narrative, Smith’s first vision occurred in the spring of 1820

   when he was just 14 years-old. In answer to his prayer and during a time of religious

   excitement in the burned over district of upstate New York, Smith retired to a local grove of

   trees in prayer where he was initially besieged by an evil force. He continued in fervent

   prayer until the evil disappeared and he saw two personages whom he believed to be God the

   Father and his Son, Jesus Christ. The Son told him not to join any of the existing [Christian]

   sects, for they were all wrong, their creeds were an abomination and those who professed

   such creeds were all corrupt. This official version of Smith’s first vision is the putative


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           20
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19       PageID.22       Page 21 of 75




   restorative event which led to the creation of Mormonism. Upon information and belief, this

   version has been included in the Mormon scripture known as Joseph Smith’s History, at

   verses 1-20 for over a century. (Attachment “B” depicts the first vision as described in

   Smith’s official history).

                    b. Historically Accurate Account of Smith’s First Vision
65. Neither Mormon historical scholars nor other academics have found evidence to support the

   orthodox version of Smith’s first vision, i.e. the official version. The official first vision

   account is not in the Book of Commandments (the precursor to the canonized D&C,

   published in 1833). Indeed, this official orthodox account as set forth in JS-H:1-20 wasn’t

   taught to Mormons during Smith's lifetime.

66. The COP has grossly misrepresented the circumstances and particulars of Smith’s first

   vision. Smith’s own as well as his contemporaries’ descriptions of his first vision differ

   greatly from the official first vision account.

67. The accounts written most closely to the date of the purported event are generally dated

   1832, 1835, 1838 and 1842. In them, various personages (not God the Father and his Son)

   appear to Smith, e.g., the Lord, angels, an unidentified angel, two unidentified personages,

   and an angel variously called Moroni or Nephi. In those accounts, there is no evil force

   interfering with Smith’s prayers, and none of the personages tell Smith that Earth’s existing

   religious creeds are false or that their professors are corrupt or an abomination.

68. It is unknown what role, if any, Smith played in developing the false official account of the

   first vision. As indicated, it was not published until after his death in 1844. There is no

   reliable evidence that Smith was involved in any recorded version of his first vision other

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                             21
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.23       Page 22 of 75




   than his 1832 handwritten account. That account provides only that Smith sought the Lord

   who forgave him of his sins.

69. COP has always known, or should have known, that its official version of the first vision is

   false. The handwritten account by Smith (upon information and belief the only handwritten

   account by Smith), written in 1832 tells of only one personage, the Lord, and makes no

   mention of an evil force thwarting his beseeching prayer (this evil aspect was part of the first

   vision narrative promulgated for decades in the 20th Century). It never mentions that all

   other creeds are false. Evidence strongly suggests that Smith’s handwritten note from 1832,

   which contradicts the official COP-correlated version of Smith’s first vision, was removed

   from Smith’s ledger book while stored in the office of Mormon president, Joseph Fielding

   Smith.

70. COP has maintained the chain of custody relating to Smith’s ledger book, where Smith hand

   wrote the 1832 account, from the time of its creation and transport across the plains to its

   arrival in the Salt Lake Valley. According to some historians, Smith’s original 1832 account

   set forth therein appears to have been ripped from the ledger book between 1930 and 1965

   and then later taped back in. There is no explanation in the ledger as to why the relevant

   portions discussed above were excised and then replaced.

71. The difference in the visions was discovered in the mid-1960s by a BYU student historian,

   who spoke privately with then President Joseph Fielding Smith. Thus, COP has known, or

   should have known, the true story of the first vision, yet continues to promulgate a false

   version.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           22
Case 2:19-cv-00554-RJS          Document 2         Filed 08/05/19       PageID.24        Page 23 of 75




72. COP-produced publications instructed Mormon members and sought to recruit converts with

   only the false official account of the first vision. Upon information and belief, that false

   narrative continues to be taught at the local level and preached to potential converts today.

73. The 2004 missionary manual, Preach my Gospel, used by GADDY, and other class

   members, contains only the false official version of the first vision, and no other.

74. Absent any information to the contrary and a warning only to read COP-correlated Mormon

   sources, credulous young Mormons had no reason to think that Smith’s first vision was

   anything other than what was depicted as the official version of the first vision or that it

   might have been pure fiction. Young Mormons like GADDY were never taught the truth, i.e.,

   that Smith’s first vision was a typical Christian theophany, as indicated in his 1832

   handwritten account where Smith sought the Lord, who appeared and granted him

   forgiveness for his sins.

75. The materiality of the details of the facts of the official first vision has long been admitted by

   the Brethren, as stated by President Gordon B. Hinckley which statement was published in

   COP’s magazines in 2002 and again in 2005: “Our whole strength rests upon the validity of

   that first vision. It either occurred or it did not occur. If it did not, then this work is a fraud.”

                                ii. The Origin of the Book of Mormon

                                      a. False Official Narrative

76. The orthodox yet false narrative tells that Smith translated what became the Book of Mormon

   directly from gold plates which had been inscribed in reformed Egyptian by ancient

   Americans with Hebraic DNA.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                               23
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19     PageID.25       Page 24 of 75




77. As claimed by Mormon scripture and promulgated through COP propaganda, the Book of

   Mormon is a record of ancient Americans whose ancestors migrated from Israel. Their

   descendants (known as the Nephites, Lamanites and Jaredites) inhabited the American

   continent for a period beginning in 600 BCE. Eventually, all the tribes except for the

   Lamanites and the Nephite Moroni, were killed in a battle and the engraved record on gold

   plates was buried in Hill Cumorah, New York, USA. Centuries later Smith retrieved the gold

   plates from the same hill. (Attachment C. Photo of Hill Cumorah).

78. From the 2012 edition of the Book of Mormon title page: "Wherefore, it [the record contained

   on the gold plates] is an abridgment of the record of the people of Nephi, and also of the

   Lamanites-Written to the Lamanites, who are a remnant of the house of Israel." From the

   Book of Mormon introduction:

     It is a record of God's dealings with the ancient inhabitants of the Americas and contains
     the fullness of the everlasting gospel. The record gives an account of two great
     civilizations. One came from Jerusalem in 600 B.C., and afterward separated into two
     nations, known as the Nephites and the Lamanites. The other came much earlier when the
     Lord confounded the tongues at the Tower of Babel. This group is known as the Jaredites.
     After thousands of years, all were destroyed except the Lamanites, and they are the
     principal ancestors of the American Indians.

79. Smith also claimed to have retrieved some spectacles, called “interpreters,” from the box

   containing the gold plates. While wearing them and looking at the gold plates, Smith was

   ostensibly able to translate the words inscribed on the plates from reformed Egyptian to

   English.

80. The misrepresentation concerning the origin of the Book of Mormon is a material fact as

   acknowledged by Apostle Jeffrey Holland: “Either the Book of Mormon is what the Prophet


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         24
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.26       Page 25 of 75




   Joseph Smith says it is, or this Church and its founders are false, deception from the first

   instance onward .... [Smith] must either be accepted as a prophet of God or else a charlatan of

   the first order.” 2

81. The paintings in Attachment D have been displayed in Mormon temple visitors’ centers, in

   instructional manuals for COP-owned schools, in missionary pamphlets and instructional

   materials, offered to lay teachers in ward libraries to be used in class, and hung in the foyers

   of chapels of local wards and stakes worldwide. Indeed, for the past seventy or more years,

   for the lifetimes of GADDY and most all the proposed class, these are the only type of

   images displayed, those that depict Smith creating the Book of Mormon by translating gold

   plates. This narrative gave Mormonism credibility, arguably comparable to the Dead Sea

   Scrolls’ corroboration of the Hebrew Bible.

82. Upon information and belief, COP commissioned the various artists who painted the portraits

   in Attachment D, had direct control over the manner of depiction and chose to display the

   patently misleading works of art showing Smith translating from the plates as the source of

   the Book of Mormon. This official manner of Book of Mormon creation was exclusively used

   in all COP’s correlated materials at least over the last half of the 20th Century, and continues

   to be used in many COP publications to this date.

83. As of July 23, 2019, displayed on the COP-owned www.josephsmith.net, remain a total of

   four portraits by different artists showing the translation of the Book of Mormon. (Attachment




2 Holland, Jeffery, Christ and the New Covenant (Salt Lake City: Deseret Book, 1997) p. 345.

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           25
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.27       Page 26 of 75




   E) All four depict Smith reading or translating from plates. In July 8, 2010, five such pictures

   of Smith translating from the plates were shown.

                     b. Accurate Account of the Book of Mormon Creation

84. The truth is that the Book of Mormon was dictated by Smith while he peered at a stone in a

   hat. This manner of Book of Mormon manuscript creation may have been a divination or a

   reading from some document buried inside the hat, perhaps dictation by inspiration, or some

   combination thereof, but it does not support the claim that Smith translated (in any ordinary

   sense of the word) the Book of Mormon directly from gold plates inscribed with reformed

   Egyptian characters by ancient American immigrants with Hebrew ancestry. There is no

   extant primary source evidence that Smith studied what was ostensibly inscribed on gold

   plates or that he ever used them, as opposed to a stone in a hat, to create the Book of

   Mormon.

85. Those individuals close to Smith during the period of Book of Mormon creation concede that

   Smith dictated the Book of Mormon while having his head in a hat which contained a seer

   stone, the same type stone he had previously used to look for buried treasure. Smith

   explained that the ancient language appeared to him and he was able to dictate words merely

   by looking at the stone. Thus, the gold plates were not directly used by Smith to create the

   Book of Mormon. In fact, no primary witness to the actual process of translation has reported

   that Smith directly used gold plates in the process of translation. Additionally, during certain

   times, Smith was in a different room than his scribe, and at other times a hanging blanket was

   used as a curtain dividing he and his scribe during dictation.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           26
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.28      Page 27 of 75




86. The “seer stone” manner of creating the Book of Mormon manuscript was verified in a local

   newspaper of the times, the Cincinnati Advisor (June 2, 1830).

       A fellow by the name of Joseph Smith who resides in the upper part of Susquehanna
       county, has been for the last two years we are told employed dictating as he says, by
       inspiration, a new bible. He pretended that he had been entrusted by God with a golden
       bible which had been always hidden from the worlds. Smith would put his face into a hat
       in which he had a white stone, and pretended to read from it while his coadjutor
       transcribed.

87. Despite that announcement, Smith dictating from a stone with his head in a hat is absolutely

   contrary to the Book of Mormon creation method represented in all COP publications,

   whether written or pictorial, during the 20th Century and until recently in limited disclosures,

   not aimed at reaching the average member of the Mormon Church.

88. Furthermore, upon information and belief COP had custody of the seer stone used to create

   the Book of Mormon since the Mormon pioneers’ 1847 arrival in Deseret (Utah). From that

   time onward it was hidden in COP’s vault. Upon information and belief, during that entire

   time it had never been shown to a lay Mormon, i.e., one who was not a paid employee of the

   Mormon Corporate Empire, until August of 2019 when COP allowed it to be photographed.

89. Furthermore, all correlated paintings, photos and other representations during the same

   period have depicted, and most continue to depict, Smith appearing to translate from gold

   plates, one or two with the spectacles, but with no seer stone in sight. The paintings are

   located in almost all Mormon temple visitor’s centers, COP correlated magazines and

   instructional materials including missionary materials, sold by its bookstore and on the

   official website dedicated to Smith, www.josephsmith.net as recently as mid-July 2019.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         27
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.29       Page 28 of 75




90. At least one portrait of Smith translating from gold plates remains on www.LDS.org as of

   August 2, 2019. (Attachment “F” Smith Translates Gold Plates).

91. Whether using spectacles, or not, translating from the ancient writings of American prophets

   engraved on gold plates is a radically different method of creating the Book of Mormon than

   dictating the manuscript while looking at a stone with one’s head in hat.

                     iii. Joseph Smith’s Translation of the Book of Abraham
                                    a. False Official Narrative

92. In 1835, the Church purchased Egyptian papyri from a traveling salesman. Also represented

   to have been written in reformed Egyptian, Smith translated the papyri into the Book of

   Abraham which claims to be the writing of the Hebrew prophet “Abraham by his own hand

   upon papyri.”

93. The Book of Abraham was canonized as Mormon scripture in 1880. It contains not only the

   purported writings of the Hebrew prophet, Abraham, but three facsimiles which claim to

   detail images of his life and experiences.

94. The Book of Abraham tells of his early life, travels to Canaan and Egypt, key revelations

   concerning the cosmos, and the star Kolob. Abraham’s revelations about souls living in what

   is termed the preexistence among God and our brother, Jesus Christ. And the fact that in the

   preexistence some souls were more righteous than others, the less righteous or fence-sitters

   were cursed with dark skin, the curse of Cain. The Book of Abraham also tells of God

   gathering the elements to formulate the universe, etc., instead of creating it ex nihilo.

95. The preface to the Book of Abraham reads:



PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         28
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.30      Page 29 of 75




     THE BOOK OF ABRAHAM TRANSLATED FROM THE PAPYRUS, BY JOSEPH
     SMITH. A Translation of some ancient Records, that have fallen into our hands from the
     catacombs of Egypt. —The writings of Abraham while he was in Egypt, called the Book of
     Abraham, written by his own hand, upon papyrus. [Emphasis original] (Attachment “G”)

96. Historically, Mormon leaders have vouched for the accuracy of Smith’s translation. This

   false statement of fact has been reiterated in correlated publications over the decades since

   the book’s creation. For example, at a speech delivered at BYU and subsequently contained

   in a 1987 book, sold by Deseret Book, Apostle Neal Maxwell, a member of the Quorum,

   claimed that Smith’s translation of the Book of Abraham is “without error.” 3

                        b. Accurate, True Narrative of the Book of Abraham

97. The Book of Abraham, purportedly written by the Hebrew prophet and translated by Smith,

   has been proven a fraud by Egyptologists. In 1966, the papyri from which the Book of

   Abraham was translated, and which was believed to have been lost in the Great Chicago Fire,

   was rediscovered. Egyptologists said that the papyri depicted ordinary Egyptian funerary

   rites and had nothing to do with the prophet Abraham. (Attachment “H”)

98. Despite the clear consensus of Egyptian scholars that the Book of Abraham was not an

   accurate translation, the purported accuracy of Smith’s translation continued to be advocated

   and assured in in CC-correlated publications subsequent to 1966.




3 “I never told you I was perfect, but there is no error in the revelations which I have taught”
Apostle Neal A. Maxwell, Meek and Lowly, Deseret Book Co (February 1, 1987) pp. 105-106.
This quotation was included in the Sunday School manual about Smith’s life and teachings,
Teachings of Presidents of the Church: Joseph Smith (2007), p. 522, and repeated in an LDS
2012 General Conference talk by Elder Neil L. Anderson, which was later published in the
Ensign, https://www.lds.org/study/ensign/2012/11/saturday-afternoon-session/trial-of-your-
faith?lang=eng#p26 (Viewed March 5, 2019).

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        29
Case 2:19-cv-00554-RJS        Document 2        Filed 08/05/19     PageID.31       Page 30 of 75




99. Instead of admitting the fraud, upon information and belief, COP directed BYU historian

   Hugh Nibley to write volumes of apologetics, arguing among other things, that the retrieved

   scrolls were not the scrolls translated by Smith. Nibley’s apologetics were accepted by

   Mormon students and the lay membership as to why Smith’s translation remained an

   accurate account of Abraham’s life, experiences and revelations. Mormons, especially the

   young students, were implicitly forbidden to explore the issue as any such task would

   inevitably lead to sources full of Anti-Mormon Lies.

100. As depicted in Attachment “H”, the Book of Abraham was not written by the Hebrew

   prophet Abraham; it does not depict his life and teachings. Rather, the inscriptions on the

   papyri that Smith had in his possession depict common Egyptian funerary rites.

101. COP now has now quietly admitted that the interpretation of the Book of Abraham was not

   written by the hand of Abraham and that the characters on the facsimiles in the book did not

   in fact represent what Smith said they did. However, upon information and belief, this fact

   has not been publicized in General Conference or in the local stakes or wards. As of 2017 the

   false narrative about the Book of Abraham was still taught to Mormon students in the Pearl

   of Great Price (the canonized book which contains the Book of Abraham, among others)

   Student Manual, 2017 edition. (See paragraph 120, infra.)

                       iv. Miscellaneous Misrepresentations of Material Fact

102. The COP has also misrepresented Smith as a monogamist (many of his polygamous

   relationships were with young teen girls; he also engaged in polyandry with other men’s

   wives), represented that Native Americans have Hebrew origins (modern genetic science


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          30
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.32      Page 31 of 75




   conclusively establishes that Native Americans have Asian, not Hebrew, DNA), and “are the

   principal ancestors of the American Indians,” as indicated in the Introduction to the Book of

   Mormon. In the 2006 edition this language was changed to “who are among the principal

   ancestors of the American Indians,” without notice to the members of the Church.

103. These and many other materially false statements of fact relating to the origins of

   Mormonism have been promulgated for almost 200 years since its founding in 1830.

           C. COP’s Specific Publications of False Representations of Material Facts

104. The following are examples of COP’s misstatements of material fact. Upon information

   and belief, there are many more which have occurred since 1923 and are still occurring.

105. 1928 General Conference Misstatement of Material Fact by General Authority. Apostle &

   Counselor in the First Presidency, Anthony W. Ivins, said in the April 1928

   General Conference when describing the location of the Hill Cumorah, that it

   [is] “[that]...particular spot in the State of New York.” [Emphasis Added].

106. 1988 Misstatement of Material Fact in a Guide for Missionaries. Intellectual Reserve holds

   the copyright to a book entitled, MISSIONARY GUIDE (Training for Missionaries), ©1988,

   Intellectual Reserve Inc. This guide was published under the trademark the Church of Jesus

   Christ of Latter-day Saints. Upon information and belief, this 1988 guide for missionaries

   was used for many years. The guide contains a continuing role-playing dialogue between a

   fictional missionary, Sister Franks, and a potential convert, Mr. Peters. The dialogue is meant

   to give missionaries examples of how to teach or engage with potential proselytes. It reads in

   pertinent part:


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         31
Case 2:19-cv-00554-RJS         Document 2      Filed 08/05/19      PageID.33      Page 32 of 75




     Situation 2

     After a discussion about the Book of Mormon as scripture which is in addition to the
     Bible, “Mr. Peters then leans back in his chair with his hands behind his head. He is
     doing some deep thinking. He then brings his chair forward and says, "So what you're
     telling me is that a fourteen-year-old boy saw God the Father and Jesus Christ and
     then translated the Book of Mormon from some golden plates?" Sister Franks warmly
     replies, "That is exactly what we are saying." [Emphasis Added].


   Upon information and belief, the role-playing dialogue and teaching strategy remained in use

   until the publication of Preach My Gospel in 2004, when Preach My Gospel replaced both

   the 1986 discussions and the 1988 Missionary Guide.

107. 1990 Letter to a Bishop by the Secretary to the First Presidency. F. Michael Watson,

   Secretary to the First Presidency, “The Church has long maintained, as attested to by

   references in the writings of General Authorities, that the Hill Cumorah in western New York

   State is the same as referenced in the Book of Mormon.” October 16, 1990, in a letter mailed

   to a local LDS bishop.

108. 1997 Misstatement of Material Facts in Primary Manual for Children ages 8-11. Young

   Mormons, including Plaintiff GADDY who was eleven at the time, and others like her, were

   groomed to accept the golden plate translation lie about Book of Mormon origins. This 1997

   publication reads in pertinent part:

     [The teacher is prompted to ask the children]: “What important work was Joseph
     Smith called to do?” [The manual prompts the teacher to]: Remind the children that
     the Book of Mormon is the translation of the golden plates... [And then, to] Discuss the
     many languages used throughout the world, and explain that the word translate means
     to change writing or speech from one language to another...[Ask the children] What
     was the language of the writings on the golden plates? (reformed Egyptian.) ...Show
     the picture of the golden plates, and discuss Joseph Smith’s task of translating the
     strange writings on the plates...[Tell the children that] At first Joseph spent a lot of
     time becoming familiar with the plates and the language in which they were written.

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         32
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.34        Page 33 of 75




     As he studied and prayed the Urim and Thummim helped him understand the
     characters on the plates.


   “Lesson 6: Joseph Smith begins to Translate the Gold Plates,” Primary 5: Doctrine and

   Covenants and Church History (1997). (Primary Manual for ages 8-11).

109. 1997 Misstatement of Material Fact in a Gospel Art Kit—Church History, used in teaching

   LDS members at the local level. In this gospel art kit under the picture of Joseph translating

   from the plates, by Del Parson, there is a summary. It reads in pertinent part:

     When the Prophet Joseph Smith received the golden plates from the angel Moroni,
     he studied the strange language written on them. With Heavenly Father’s help,
     Joseph translated the writing on the golden plates into words he could understand.
     Oliver Cowdery helped Joseph by being his scribe. As Joseph read out loud from
     the plates, Oliver wrote down the words. When the translation into English was
     completed, the book was printed. It is called the Book of Mormon. [Emphasis
     Added].4


110. 1998 In a Statement by COP President, Gordon B. Hinckley on Live Television. Despite

   the fact that §132 of the D&C on polygamy remains as canonized scripture, Gordon B.

   Hinckley made the following statement on Larry King Live on September 8, 1998 with

   regard to the practice of polygamy: “I condemn it [polygamy], yes, as a practice, because I

   think it is not doctrinal...” [Emphasis added].

111. 2001 Misrepresentation by President Thomas S. Monson, Speaking from the Hill Cumorah.

   on satellite transmitted video, later published in the Ensign magazine. Monson reiterates what

   had been the official position for almost 100 years concerning the location of the burial of the

   gold plates and the area where the two civilizations the Nephites and Jaredites died. What

4 https://www.lds.org/media-library/images/category/church-history-gospel-art-kit?lang=eng
Gospel Art Kit-Church History, © 1997, Intellectual Reserve, Inc. (Viewed on April 22, 2019)

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         33
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19     PageID.35       Page 34 of 75




   follows is a transcription of Monson’s words from that video presentation. The presentation

   was broadcast by Bonneville Communications between General Conference sessions on 1–2

   April 2000:

     What a privilege to be here at the Hill Cumorah and to reflect on the momentous events
     that unfolded on September 22, 1827, when a plowboy prophet took a horse and wagon
     and, in the dark of night, rode to this hill, where he received an ancient record from the
     angel Moroni. In a remarkably short time, this untutored young man translated a record
     detailing 1,000 years of history and then prepared the Book of Mormon for public
     distribution. [Emphasis Added].5

112. GADDY and potential Class members like her listened to General Conference twice a year,

   including the programs in-between, over satellite broadcast into their home or, in LAURA

   GADDY’S case from Salt Lake City to the local ward chapel in North Carolina. However, as

   of January 2019, COP takes no position on the location of the Hill Cumorah.

113. 2002 Misrepresentation of Material Fact by Mormon President. In January near the time of

   the Salt Lake Winter Olympics, LDS President Gordon B. Hinckley told a reporter for the

   German press in a video recording when asked about widespread peer-reviewed DNA studies

   which prove that native American ancestry has Asian and not Hebrew DNA:

       Reporter: “What will be [sic] your position when DNA analysis will show [sic]
       that in the history never had been an immigration from Israel to North America?”
       Hinckley: “It hasn’t happened. It hasn’t been determined yet. All I can say is
       that’s speculating. No one really knows the answer to that. Not at this point.”

114. 2004 Misstatement of Material Fact and Omission in Guide to Missionary Service. This

   COP publication is provided to missionaries and is sold at Desert Book. Preach My Gospel


5 Later published in the Ensign, April 4, 2001, pps. 19-20. (Link to the audio from 2010 is dead.)
https://www.lds.org/study/ensign/2001/04/special-witnesses-of-christ.html?lang-eng#title1 (Last
viewed May 7, 2019)

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                       34
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.36       Page 35 of 75




   (a Guide to Missionary Service), © 2004 Intellectual Reserve Inc., at page 38, depicts Smith

   experiencing a vision in a grove with two personages described. There is a painting of Smith

   appearing to translate directly from gold plates, with his scribe. There is no mention of the

   seer stone manner of Book of Mormon creation. This guide was used by GADDY and upon

   information and belief, others similarly situated, in their proselytizing efforts. (Attachment

   “I”.)

115. 2005 Missionary Preparation Student Manual, published by COP, for use by Mormon

   students called MISSIONARY PREPARATION (Student Manual, Religion 130) © 2005,

   Intellectual Reserve Inc., in an Institute class. This manual contains the misrepresentation

   that during Smith’s first vision he was visited by two personages and that the Book of

   Mormon was created by Smith translating directly from gold plates. (Attachment “J”.)

116. 2007 Sunday School Manual, Teachings of Presidents of the Church: Joseph Smith which

   was used throughout the wards and branches, available to order from the COP-owned

   distribution center, on LDS.org and from Deseret Book. Chapter One of this Sunday school

   manual reads: “The First Vision: The Father and the Son Appear to Joseph Smith.” ‘I saw

   two Personages, whose brightness and glory defy all description, standing above me in the

   air. One of them spake unto me, calling me by name and said, pointing to the other—This is

   My Beloved Son. Hear Him!’ (p. 27). On pps. 31-32, the false account of the first vision

   describes a dark presence prior to Smith seeing two personages who, after one introduced the

   other as his son, Smith claims to have heard the Son say that all the creeds were wrong and

   he was to join none of them. The manual states that Smith would translate the record of


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           35
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.37       Page 36 of 75




   Ancient Americans inscribed on gold plates into what would be the Book of Mormon. (pp. 6-

   7). (Attachment “K”.)

   With regard to the Egyptian papyri scrolls, the manual reads: “In 1835, the Prophet began

   translating the Book of Abraham from ancient Egyptian papyri that the Church had

   purchased. All these translations later became part of the Pearl of Great Price. [Emphasis

   Added]. (p. 12).” There is no disclaimer or other mention of the fact that the translation has

   been proven false by Egyptologists. All the references above are from Teachings of

   Presidents of the Church: Joseph Smith, © 2007 Intellectual Reserve, Inc.

117. 2009 Misstatement of Material Facts in a Gospel Art Book. Smith’s first vision is depicted

   with two personages on p. 90 (Attachment “B”); and, Smith is depicted translating from

   golden plates at page 92. (Attachment “I”.) GADDY, and upon information and belief, others

   like her, frequently used the pictures in this art book to teach others in her ward.

118. 2011 Re-edited and re-released version of the 2005 Film Produced by a Subsidiary of

   Bonneville International, Corp. Joseph Smith Prophet of the Restoration is an approximately

   hour-long film produced by the LDS Motion Picture Studio which is, upon information and

   belief, a subsidiary of Bonneville International, Corp. These words appear at the beginning of

   the film: “The historical events represented in this story are true and occurred on the

   American frontier from 1805-1845.” The film shows A) the first vision depicted as that

   vision where Smith was a 14-year-old boy, i.e., in 1820, when he saw two personages; and,

   B) Smith translating from gold plates, into what would become published as the Book of

   Mormon, no seer stone in sight. (Attachment “L” shows screen shots taken from the film


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         36
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.38       Page 37 of 75




   with related narrative transcription). In both versions the film misrepresents Smith’s first

   vision as one where he saw two personages who told him all that he was to join none of the

   [currently existing] churches. The film also shows Smith retrieving golden plates and

   translating from them. There is no mention of a seer stone used in anyway in the creation of

   the Book of Mormon.

119. The film was re-edited and re-released in 2011. It was shown in the Joseph Smith

   Memorial Building adjacent to Salt Lake City Temple Square through 2015. It is currently

   available to watch in select LDS visitors' centers and online on the LDS.org website and at

   no cost through Amazon Prime Video. Additionally, COP has released the film in several

   languages including ASL, Spanish, French, German, and Japanese.

120. 2017 The Pearl of Great Price Student Manual. (Religion 327) published by the Church of

   Jesus Christ of Latter-day Saints, Salt Lake City: Utah. August 2017. © 2000, 2017.

   Intellectual Reserve Inc. The manual is to be used by Institute students. In it several patent

   misrepresentations of material fact regarding the Hebrew prophet Abraham are set forth:

        P.76/186 Facsimile 3 shows that Abraham not only survived his experience in
        Egypt, but that he was invited by Pharaoh to sit on the throne and teach
        principles of astronomy...” P.85/186 Facsimiles 2–3; Abraham 4–5 Abraham
        Taught the Egyptians and Saw a Vision of the Creation of the Earth...Indeed,
        facsimile 2 contains figures and explanations relating to the Lord’s plan of
        salvation. For example, the explanations for figures 3, 7, and 8 establish a clear
        relationship between the contents of facsimile 2 and the ordinances of the
        temple...p. 78/186. Facsimile 3, figure 1. Abraham upon Pharaoh’s Throne In
        figure 1 of facsimile 3, Abraham is shown seated upon the throne of Pharaoh,
        “reasoning upon the principles of Astronomy, in the king’s court” (explanation
        for facsimile 3; see also the explanation for figure 1). It is clear in Abraham 3:1–
        16 and facsimile 2, figures 1–5, that Abraham gained great knowledge of the
        principles of astronomy.(pps. 76-78, 85, and 186)


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           37
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.39      Page 38 of 75




                  D. COP’s Ongoing False Representations of Material Fact

               i. Misrepresentations of Material Facts remain in Mormon Scripture.

121. False statements made in the Book of Mormon concerning the first vision and the origin of

   the Book of Mormon as being a translation of gold plates. The authorship and the attributions

   of the characters in the facsimiles in the Book of Abraham remain in the respective canonized

   scriptures online and for sale by COP and its various subsidiaries throughout the Mormon

   Corporate Empire up through the date of the filing of this Complaint.

                      ii. Continuing Misrepresentations in Pictures abound.

122. There also remain continuing misrepresentations in pictures on the LDS.org website of two

   personages appearing to the founding prophet, Smith and of Smith translating from gold

   plates.

123. As of July 23, 2019, pictures of Smith appearing to translate from gold plates by various

   artists remain on the COP-owned website, www.josephsmith.net. (Attachment “E”.)

124. Additionally, toy replicas of gold plates with unidentifiable characters inscribed on them,

   made by Latter*Day Designs are still offered for sale as of 2019 on Deseret Book.com.

   (Attachment “M”.)

             E. The Role of Missionaries in Spreading Mormon Empire Falsehoods

125. COP has used the leaders of local Mormon organizations and missionaries to accomplish

   its scheme and continues to do so. In 2012 the age at which young missionaries could serve

   was lowered from 19 to 18 for young men and to 19 from 21 for young women. The young




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          38
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19       PageID.40      Page 39 of 75




   men and women are initially indoctrinated in the MTC and then sent out to proselytize in any

   one of several missions across the world.

126. COP, through the Mormon Corporate Empire’s educational association in fact enterprise,

   grooms young men and women raised in Mormonism to believe the correlated version of its

   history. Most families of these young people, per COP direction, limit the young family

   members’ access to non-correlated Mormon history, and until recently both the COP and the

   missionary families characterized these alternate, but now admitted facts as Anti-Mormon.

127. Prior to serving missions, young Mormons spend most of their free time in COP-approved

   activities, including daily seminary instruction for student ages 14-18, social activities and

   family activities, including performing janitorial services at the local chapels, as did GADDY

   and upon information and belief others like her, leaving little opportunity for independent

   study. Unless directed, young Mormons will not find sources of information that accurately

   describe the Church’s history.

128. Applicants formerly received their mission calls via US mail, their families gathering

   around for the opening of the letter or “call” to serve. As of September 5, 2018, after the

   prospective missionary is notified by text or email that an assignment has been made,

   mission calls are now delivered through a secure website owned by COP.

129. Once the call to serve is accepted, missionaries spend about two months in the Mission

   Training Center (MTC) prior to going out into the field. However, the curriculum in the

   MTC has not changed to teach the truth of Mormonism’s foundational facts. Thus, proselytes

   are ensnared into the religion based upon false pretenses.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                             39
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.41       Page 40 of 75




130. The MTC does not teach young missionaries true Mormon history. According to one young

   missionary, in the MTC if and when questions of troubling issues in Mormon history arise,

   young missionaries are told not to try to answer the questions but to refer the potential

   convert to a bishop or other local leader who can give the potential convert the answer

   because the issues in Mormon history are “too complicated” and missionaries shouldn’t have

   to worry about them; they are only to “teach the truth of the gospel.”

          F. Defendant’s Fraudulent Concealment of Mormonism’s True History

131. www.LDS.org is a website owned by COP. Beginning November 20, 2013 through

   January 29, 2019, COP, by and though its employee-agents, published a series essays

   addressing controversial aspects of its history and theology. Among other topics, the essays

   include key topics relevant to the allegations in this Complaint: First Vision Accounts, Book

   of Mormon Translation and Book of Abraham Translation, and Book of Mormon Geography.

   However, the essays were solely published on the website (i.e. no hard copies distributed)

   and their placement was deeply buried within that sites’ existing structure.

132. The essays were initially published without author attribution, and were not endorsed by

   the GAs, nor distributed to bishops to be read over the pulpit. Upon information and belief,

   they have never been referenced in General Conference. Upon information and belief, the

   important content of the essays has yet to be integrated into correlated curriculum at either

   the student educational intuitions or in the manuals used by lay teachers in the wards or

   branches in the United States.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         40
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.42       Page 41 of 75




133. The general obscurity of the serial publication of essays was admitted by COP’s official

   church historian, Steven Snow, who said that the [Brethren’s] intent was to release the

   information set forth in the essays on the troubling aspects of Mormon history and theology

   slowly, with a “soft launch.” In an undated audio recording, Snow also admitted that the

   Church’s soft launch was intended to “inoculate” the members with the Church’s

   controversial history. 6

134. Indeed, it was not until August of 2015 that the Church removed Smith’s seer stone from

   its vault and allowed it to be photographed. Upon information and belief, said act was the

   first in over a century where COP openly admitted that its founding prophet used a seer stone

   to create the Book of Mormon, as opposed to COP’s longstanding misrepresentation that the

   Book of Mormon was translated from gold plates inscribed with reformed Egyptian

   characters by ancient Americans with Hebrew ancestry. Nevertheless, to this day, neither the

   actual seer stone nor a photo of it has been referenced or shown in General Conference or,

   upon information and belief, to those attending weekly services in wards or branches.

135. As of 2016, CES local educators largely remained oblivious to the existence of the essays.

   In a speech to these COP employees, Apostle Russell Ballard urged them to know the essays.

   However, an explicit edict to announce their existence, let alone their content, to local lay




6 COP Historian Steven Snow’s statement, undated, transcript found at the following link:
https://www.mormonstories.org/podcast/elder-steven-e-snow-lds-gospel-topics-essays-not-
advertisex/AUDIO LINK: https://clyp.it/gq0cdhf1# The Transcript of this audio is attached to
the complaint as Attachment “N”, and is hereby incorporated by reference into this Complaint.



PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            41
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19      PageID.43       Page 42 of 75




   Mormons at weekly services or in General Conference broadcasts has not been voiced by

   either Apostle Ballard, upon information and belief, or by any of the Brethren to date.

136. Historically Mormons have been warned not to attend symposia (or read symposium

   related publications) where Mormon intellectuals attempt to make sense of the correlated

   history. In fact, intellectuals have been named as one of three groups (the others being

   feminists and homosexuals) who threaten the very essence of the Church.

137. Since publication of the essays began, without mentioning, let alone announcing that the

   Brethren had begun posting unattributed essays addressing some of the controversial aspects

   of Mormon history deep within the lds.org website, two speeches were given at General

   Conference warning Mormons about the dangers of the internet. These Brethren warned that

   the internet has no truth filter and that sifting through the internet for information is akin to

   roaming through garbage. 7 These GAs failed to disclose the existence of the essays to the

   general conference attendees or exempt their own website content from that admonition to

   avoid the internet.

138. As recently as 2017, COP published a student manual entitled the Pearl of Great Price, in

   which the Book of Abraham is discussed. There, the COP reverts to its misstatements of

   material fact about the Hebrew prophet Abraham’s role in the Book of Abraham, claiming

   that the facsimile shows the Hebrew prophet Abraham sitting upon pharaoh’s throne, or



7 “Joseph Smith,” by Apostle Neil A. Anderson, October, 2014 General Conference. (Viewed
May 23, 2019) https://www.churchofjesuschrist.org/study/general-conference/2014/10/joseph-
smith?lang-eng and “If Ye Lack Wisdom,” Elder Marcos A. Aidukaitis, April, 2014 General
Conference (Viewed May 23, 2019) https://www.churchofjesuschrist.org/study/general-
conference/2014/04/if-ye-lack-wisdom?lang=eng

PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            42
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19       PageID.44       Page 43 of 75




   studying astronomy, when in fact the figures depicted in the facsimiles are Egyptian deities

   or lesser Egyptian figures. (See paragraph 120 above).

139. Upon information and belief, in 2013 the Brethren were presented with a faith crisis study,

   subsequently made into a report, performed by experts in the fields of brand and business

   strategy, social and digital media, law, pathology, and psychology, among other disciplines.

   The report concluded that many Mormons experienced a faith crisis after learning about true

   Mormon history which did not comport with the version historically taught by COP through

   its correlated publications. These Mormons were abandoning Mormonism and resigning

   from the Church due to the true factual information about Mormon history which they found

   on the internet. A small percentage of those surveyed remained in the organization, but no

   longer believed in its teachings.

140. The faith crisis report details the severe or extreme emotional, psychological, relational and

   sometimes attendant physical distress which thousands of Mormons experienced as a result

   of being deceived. Despite notice of the severe or extreme emotional distress caused when

   Mormons realize the truth of the Brethren’s longstanding lies, the organization has continued

   to hide and obfuscate the truth of its historical foundational facts, only admitting the lies in a

   controlled and limited forum.

                   VI. FACTS SPECIFIC TO PLAINTIFF, LAURA GADDY

                                       A. Raised in Mormonism.

141. GADDY was raised by a single mother who joined the Church in 1979. GADDY, along

   with her three older siblings, attended the LDS ward in Gastonia, North Carolina. She


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           43
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.45       Page 44 of 75




   participated extensively in all the Church auxiliary programs from Primary onward, including

   Sunday School, Young Women and at age seventeen, Relief Society. She sang children’s

   tunes about Smith’s golden plates being a record made by [the ancient prophet] Nephi and

   the first vision in the sacred grove where Smith claimed to see two personages, God the

   Father and his Son.

142. A typical week during her childhood was spent at the Mormon Church for three hours on

   Sunday, learning about Mormonism at Family Home Evenings on Mondays, attending

   auxiliary activities for several hours on Wednesday nights and various Church activities on

   Saturday, including performing chapel janitorial duties. During these activities, most of

   which were held at the local chapel, she saw pictures of Smith translating directly from the

   gold plates and of his seeing two personages in a grove of trees during his first vision.

   GADDY’s belief in a false version of Mormonism was bolstered and confirmed by such

   pictorial reinforcements, which were taken from the ward library and the Church-approved or

   correlated gospel art books. Later GADDY herself used a 2009 version of the Gospel Art

   Book when she became a teacher for the Church.

143. At age twelve GADDY was worthy to attend the holy temple and be baptized for the dead.

   She attended the Church’s girls camp. She served in numerous callings from Relief Society

   president to visiting teaching coordinator and gospel study teacher in Sunday school. From

   age seventeen until early 2018, GADDY paid tithing on her earnings. She deposited the cash

   or a check in an envelope after filling out the form provided by the local ward. Like all




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        44
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.46      Page 45 of 75




   contributions to the Mormon Corporate Empire, GADDY’s contributions were forwarded by

   her local ward bishopric to the COP.

144. Since childhood, GADDY listened twice a year to General Conferences broadcast in her

   local North Carolina chapel, originating from KSL television, Salt Lake City, Utah and was

   assured that her spiritual leaders would never lead her astray. She ordered temple garments

   materials, and mementos from Deseret Book by telephone, and then later, online through

   Deseret Book’s website.

145. GADDY graduated Ashbrook High school in 2005. From age 17 through age 29, wherever

   she lived, she would drive 25-40 miles to attend Institute (college level instruction about

   Mormonism) and Mormon religion courses. She also worked full-time as a waitress saving

   money for a mission. She attended some college, the LDS Institute and the singles wards

   wherever she lived.

             B. Gaddy’s Dedicated Service to the Mormon Corporate Empire

146. While living in Gastonia, GADDY’s stake president recommended that she serve a

   Mormon Mission. She prayed about it and in 2005 received her calling in the mail from COP

   headquarters in Salt Lake City. All twelve members of her family gathered around while she

   opened the envelope to reveal that she had been called to the Hamburg, Germany Mission.

   Having received the academic award for the German language in High School, at age

   nineteen, GADDY left for an LDS mission to Hamburg, Germany.

147. GADDY stayed just 2.5 weeks at the MTC. While there, nothing but correlated information

   was presented about the historical restoration of the Mormon gospel. GADDY was never


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          45
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.47       Page 46 of 75




   taught anything about various versions of the first vision, Smith using a seer stone to create

   the Book of Mormon, or the notion that Smith wrongly characterized Egyptian deities as the

   Hebrew prophet Abraham. These historical truths had always been couched by COP’s

   employees and agents as Anti-Mormon lies. Excited to serve, once in Germany GADDY

   taught discussions from the COP-approved Missionary handbook, which included pictures of

   Smith in the sacred grove with two personages and Smith translating the Book of Mormon

   directly from golden plates. She even taught from the Book of Abraham.

148. After serving in Germany for nineteen months honorably, but with credit for just two

   converts, she returned home discouraged. GADDY was convinced that her personal

   imperfections were responsible for her failure to secure more converts. However, she

   remained faithful. In her youth and naiveté, having known only Mormonism and no other

   belief system, she couldn’t understand why the German people rejected the “one and only

   true Church on Earth.” As a keepsake of her time as a missionary, she took a photograph of

   herself with Apostle Jeffrey Holland, one of the Brethren, whom GADDY trusted implicitly

   and who had visited while she served in the German mission. Another keepsake she has is a

   picture of herself with Apostle Dieter Uchtdorf, also one of the Brethren.

149. When she returned home to North Carolina, she applied to and was accepted at Western

   Carolina University. During this time, GADDY discussed her college plans with her stake

   president, who told her she should apply to a Church school. He looked at her and said with

   the stern force of prophecy “You should go to BYU-Idaho. You will meet your husband

   there.” In reliance on the prophecy pronounced by her stake president, acting as a spiritual


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           46
Case 2:19-cv-00554-RJS        Document 2        Filed 08/05/19     PageID.48       Page 47 of 75




   agent for God’s appointed leaders; she declined the acceptance to Western Carolina

   University and within eight days embarked in her car on a 2,000 mile cross-country move to

   attend BYU-Idaho in Rexburg, Idaho.

150. GADDY graduated BYU-Idaho with a degree in Recreational Management, with an

   emphasis in recreational therapy. While there, she took additional Mormon religion courses

   and attended Institute. She used the Institute and religion course manuals which never hinted

   at Mormon historical anomalies. Questions about significantly differing versions of the first

   vision, Smith using his seer stone to create the Book of Mormon, and the important

   inaccuracies in the Book of Abraham translation, were never discussed at BYU-Idaho during

   her experience. No course in comparative religions was offered at BYU-Idaho. GADDY

   dated, and even stayed in the Rexburg, Idaho general area after graduation for three months

   in an attempt to fulfill her stake president’s prophecy but did not meet her husband.

151. GADDY found a job in her specialty in Florida and lived with a Mormon family there for

   approximately two years. After much discussion and counseling with her bishop where she

   confided the hopes, fears and disappointments of her young life, GADDY decided that

   Florida was not the right place for her. She looked for a professional position elsewhere.

152. Ultimately, GADDY took a job in Texas and attended a singles ward, where she met her

   husband in April, 2015. They were married in the Rexburg Idaho Mormon temple in

   December of 2015. Two of GADDY’s sisters were barred from the ceremony since the older

   one was not temple worthy and the younger deemed too young.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         47
Case 2:19-cv-00554-RJS        Document 2        Filed 08/05/19      PageID.49      Page 48 of 75




153. The couple returned to North Carolina and is now living in Jacksonville, North Carolina.

   Her husband planned to become a chaplain in the US Navy. However, in order to do so, his

   wife must be an active member of the same religion that he professes, here, Mormonism. In

   May of 2017, GADDY gave birth to her first child, a son. She now works part-time, caring

   for him.

154. During GADDY’s childhood she heard and read representations by the COP through its

   agents/employees that Mormonism was the one and only true church of God on Earth,

   indeed, the restored gospel of Jesus Christ. These opinions were supported by the false

   statements, including false pictorial representations of important facts as detailed throughout

   this complaint.

155. During this time, she encountered nothing that caused her to question or contradict any of

   those misrepresentations because she, like all others who have been raised in the Mormon

   organization, had been admonished not to read outside of COP-approved sources. When

   GADDY was on her mission she could not read anything unapproved by her Mormon

   leaders. Unapproved sources were characterized to include “Anti-Mormon lies,” which had

   been spread about Mormonism ever since its founding in 1830. Leaders told her that such lies

   would sow seeds of doubt which would grow like a cancer destroying her testimony and

   peace of mind.

156. GADDY and her husband remained active in the Mormon organization. She taught Relief

   Society in her ward. During her temple recommend interviews she readily acknowledged that

   she paid a full tithing. When she was asked if she associated with any one or group whose


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        48
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19     PageID.50       Page 49 of 75




   practices were contrary to Mormon teachings, she truthfully answered “no,” so as not to

   compromise her worthiness to enter the temple and eventually obtain exaltation. In her ward

   callings, she used the artwork available in the ward library which depicted Smith’s first

   vision where the COP claimed Smith saw the Father and Son, in the seminal event leading to

   the Restoration and the picture of Smith appearing to translate the Book of Mormon from

   golden plates. She studied the Book of Abraham and wondered about the Hebrew prophet and

   the interesting information which Smith obtained from the life and teachings of Abraham

   inscribed on the Egyptian scrolls about the star Kolob and the pre-existence where all souls

   lived before birth and other information.

                         C. A Shocking Discovery Leads to Research

157. Then in February of 2018, she was preparing a lesson to teach in Relief Society. In search

   of General Conference talks to supplement her lesson she googled “Mormon videos” and

   came across a link to a video of an interview with Josh Durham, a Mormon physician, who

   talked about mind control and Steve Hassan’s B.I.T.E. model of religious extremism in the

   context of Mormonism.

158. Dr. Durham stated that Smith lied about his personal participation in polygamy. At first,

   GADDY did not believe what she was hearing, she wanted to prove Dr. Durham wrong. She

   had always been taught that Smith had just one wife, Emma. She researched Smith’s

   participation in polygamy but found nothing dispositive on the LDS.org website. She did find

   a link on LDS.org to another site where Smith’s wives were listed. Thinking that since the

   Mormon website linked to an outside source from its own site, therefore she was allowed to


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          49
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19       PageID.51       Page 50 of 75




   do the same, she viewed websites that addressed Smith’s lies about his polygamy, which led

   her to other issues and eventually over a period of time to the conclusion that the truth about

   key facts in Mormon history was radically different from what she had been taught.

159. After several weeks of intense research, GADDY learned that Smith had multiple visions

   and that there exist multiple versions of the first vision, that the earliest in 1832, written in

   Smith’s handwriting, described only a vision of the Lord who forgave Smith for his sins. She

   learned that all primary source material supports the fact that Smith dictated the Book of

   Mormon while staring at a stone in a hat, and indeed that the best evidence supports the stone

   in the hat theory. She discovered that there is no primary source evidence that Smith studied

   what was ostensibly inscribed on the gold plates or that he ever used them, as opposed to a

   seer stone in a hat, to create the Book of Mormon. Incredibly, she learned that very seer stone

   was the same stone Smith had used to search for buried treasure when he was younger, and

   that even if the gold plates existed, he didn’t use them to translate inscriptions from ancient

   Hebrew prophets.

160. GADDY also discovered that despite long-standing COP representations that Hill Cumorah

   was the place where the golden plates were deposited and the surrounding area was the

   location of the battles between the Nephites and Lamanites, that there is in fact no evidence

   of Hebrew ancestry found in the Americas. She subsequently learned from the “Book of

   Mormon Geography” essay published in January 2019, that Mormon leaders have no official

   opinion on the location of Hill Cumorah, where the final Book of Mormon battle took place

   and where in the Americas the gold plates were buried and retrieved.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                                50
Case 2:19-cv-00554-RJS        Document 2       Filed 08/05/19      PageID.52       Page 51 of 75




161. She learned that the recovered Egyptian papyri used in Smith’s translation of the canonized

   Book of Abraham are not the words and writing of the Hebrew prophet Abraham, as

   announced in the book’s preface, and as she was taught in Sunday School. She also learned

   that according to all Egyptologists, the true meaning of the writing on the papyri bears no

   resemblance to the interpretation or ‘translation’ claimed by Smith and taught by COP

   employees and agents, the Brethren, her BYU-Idaho professors of religion, her bishops and

   stake presidents and even what she had taught others on her mission.

162. GADDY attempted to discuss these issues with her husband, but he only trivialized her

   concerns. He would not listen to her or read anything she asked him to consider. She

   attempted to discuss it with Mormon friends and relatives. Her husband and friends argued

   with her. Her mother told her that she felt like she had “stabbed her in the heart.” LAURA

   GADDY was alone in her despair.

163. She found that she could not reconcile what she had learned and now believed to be the

   truth about her Mormon beliefs with continuing membership in the Mormon organization.

   Ultimately, months after that first rude awakening, she resigned from the Church.

164. She knew that her husband had been working for years to attain the status of chaplain in the

   US Navy. However, it was only after her resignation that she learned from him that he cannot

   now be considered for that position because the wife of a chaplain must belong to the same

   religion as her husband. Deeply disturbed, she feels that she has jeopardized her husband’s

   career path, which has led to further dissension within the marriage.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          51
Case 2:19-cv-00554-RJS         Document 2         Filed 08/05/19     PageID.53        Page 52 of 75




165. GADDY is now in counseling for the severe emotional distress she has suffered upon

   learning that her trusted spiritual advisors have mispresented the truth of the historical facts

   upon which her faith was built and that her entire life has been based upon a lie.

                            VII. CLASS FACTUAL ALLEGATIONS

166. The following individuals are excluded from the Class: (1) any Judge or Magistrate

   presiding over this action and members of their families; (2) Defendants, their subsidiaries,

   parents, successors, predecessors, and any entity in which Defendants or its subsidiaries or

   dbas, have a controlling interest and their current or former employees, officers and

   directors; (3) Plaintiffs’ attorneys; (4) persons who properly execute and file a timely request

   for exclusion from the Class; (5) the legal representatives, successors or assigns of any such

   excluded persons; and (6) persons whose claims against defendant have been fully and

   finally adjudicated and/or released. Plaintiff anticipates the need to amend the Class

   definitions following appropriate discovery.

167. Definition of the proposed class: All who have resigned from the Mormon Church less than

   four years prior to the date of filing this Complaint, (subject to tolling considerations of

   minority, etc.), and those who resign thereafter who choose to be members of the class.

168. Numerosity [Size]: The exact size of the Class is unknown and not available to GADDY at

   this time, but it is clear that individual joinder is impracticable. COP has in its possession a

   list of those who have requested that their names be removed from its records. Additionally,

   on information and belief, at least twenty-six thousand Mormons have used the website

   www.quitmormon.org to resign since it was created in or about 2012. Members of the Class


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           52
Case 2:19-cv-00554-RJS           Document 2      Filed 08/05/19      PageID.54       Page 53 of 75




   can be easily identified through Defendant’s records of those Mormons who have resigned

   within the date set forth in the parameters, i.e. no more than four years prior to the date this

   Complaint is filed (subject to tolling considerations of minority, etc.), and those who resign

   thereafter who chose to become members of the class. Not all of those have resigned due to

   factual misrepresentations alleged in this Complaint; however, upon information and belief,

   and according to the faith crisis report, a substantial majority of said individuals in this group

   have resigned for these reasons.

169. Commonality/Typicality and Predominance: There are many questions of law and fact

   common to the claims of Plaintiff and the Class, and those questions predominate over any

   questions that may affect individual members of the Class. Common questions for the Class

   include but are not necessarily limited to the following: the ongoing misrepresentations of

   foundational facts which have caused Class members to question Mormonism. Furthermore,

   the type of psycho-social issues caused by Defendant’s alleged deception are common to

   potential Class members, as set forth in the faith crisis report. Finally, the monetary damages

   suffered by members of the Class are of the same type, funds paid to Defendant COP in the

   form of tithing and other expenses (e.g., mission expense, tuition) in reliance upon

   Defendant’s [mis]representations of historical material fact concerning Mormonism’s origins

   and are readily calculable.

170. Adequate Representation: LAURA GADDY will fairly and adequately represent and

   protect the interests of the Class. GADDY was a leader in her high school and served in

   various Church callings on her mission and in her wards. GADDY’s Counsel has more than


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           53
Case 2:19-cv-00554-RJS           Document 2     Filed 08/05/19      PageID.55       Page 54 of 75




   30 years’ experience as a civil litigation attorney, experience in multiparty litigation from

   both a defense and plaintiff side, and class action experience. Neither GADDY nor her

   counsel has any interest adverse to the Class. Neither does Defendant have any defense

   unique to GADDY. GADDY and her counsel are committed to vigorously prosecuting this

   action on behalf of the members of the Class and have the resources to do so.

171. Appropriateness per Fed. R. Civ. P. 23 (b) (1): Prosecuting separate actions by or against

   individual class members would create a risk of: (A) inconsistent or varying adjudications

   with respect to individual class members that would establish incompatible standards of

   conduct for the party opposing the class; and (B) adjudications with respect to individual

   class members that, as a practical matter, would be dispositive of the interests of the other

   members not parties to the individual adjudications or would substantially impair or impede

   their ability to protect their interests.

172. Defendant’s business propaganda practices apply to and have affected the members of the

   Class uniformly, and GADDY’s challenge of those practices and claim for damages as a

   result of those longstanding practices hinges on Defendant’s conduct with respect to the

   Class as a whole, not on facts or law applicable only to GADDY. Additionally, the damages

   suffered by individual members of the Class will likely be small relative to the burden and

   expense of individual prosecution of the complex and protracted litigation necessitated by

   Defendant’s actions/omissions. Upon information and belief, COP is worth in excess of $100

   billion dollars and has access to the best attorneys in the United States. Thus, it would be

   virtually impossible for the members of the putative Class to obtain effective relief from


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            54
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19      PageID.56        Page 55 of 75




   Defendant’s misconduct on an individual basis. A class action provides the benefits of single

   adjudication, economies of scale, and comprehensive supervision by a single court.

   Economies of time, effort, and expense will be fostered, and uniformity of decisions will be

   ensured, especially given that appeals are likely.

173. Fed. R. Civ. P. 23(b) additional pertinent matters. A class action is superior to other

   available methods for fairly and efficiently adjudicating the controversy in that it would be

   judicially expeditious for the matter to be litigated in this particular forum, given it is the

   location of Defendant COP and that much of its actions/omissions occurred in this

   jurisdiction. Furthermore, upon information and belief, the majority of the witnesses to said

   actions are located within this forum or very nearby.

174. Fed. R. Civ. P. 23(c) notice to potential class members: Upon information and belief, notice

   required per this subsection can be easily accomplished as described in the numerosity

   section above. Notice in compliance with the above section can be accomplished through

   discovery requests to Defendant to identify those who have resigned during the

   circumscribed period through COP’s membership rolls. It is widely known that the COP

   maintains records on those who are inactive and those who have resigned, often sending

   representatives to those members who have moved and/or become inactive months and even

   years after the members’ activity has ceased.

                        VIII. MAIL AND WIRE FRAUD ALLEGATIONS

175. COP engaged in a scheme to defraud GADDY and other class members by means of

   fraudulently misrepresenting the facts relating to (among other things) Smith’s first vision,


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                              55
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19       PageID.57       Page 56 of 75




   Smith’s creation of the Book of Mormon and Smith’s translation of the Book of Abraham. COP

   knowingly devised or knowingly participated in a scheme and or artifice to defraud GADDY

   and other class members to obtain the money or property of GADDY and other class members

   by means of false or fraudulent pretenses, representations, or promises.

176. COP could foresee that the U.S. Postal Service and interstate wires would be used “for the

   purpose of” advancing, furthering, executing, concealing, conducting, participating in or

   carrying out the scheme, within the meaning of 18 U.S.C. §§ 1341 and 1343.

177. In particular, pursuant to the scheme to defraud GADDY and other class members, COP knew

   or could foresee that the U.S. Postal Service and interstate wires would be used to receive and/or

   deliver, inter alia, communications for the purpose of providing false historical accounts of

   Smith’s first vision, Smith’s creation of the Book of Mormon, and Smith’s translation of the

   Book of Abraham, for the purpose of concealing the historical truth of Smith’s first vision,

   Smith’s creation of the Book of Mormon, and Smith’s translation of the Book of Abraham, and

   for the purpose of persuading Mormons to donate their time, money, and energy for the

   economic benefit of the Mormon Corporate Empire.

178. COP acting singly and in concert, personally or through its agents, used the U.S. Postal

   Service and interstate wires or caused the U.S. Postal Service or interstate wires to be used “for

   the purpose of” advancing, furthering, executing, concealing, conducting, participating in, or

   carrying out a scheme to defraud GADDY and other class members, within the meaning of 18

   U.S.C. §§ 1341 and 1343.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                             56
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19      PageID.58       Page 57 of 75




179. It is not possible for GADDY to plead with particularity all instances of mail and wire fraud

   that advanced, furthered, executed, and concealed the scheme because the particulars of many

   such communications are within the exclusive control and within the exclusive knowledge of

   COP. By way of example, however, COP specifically used the U.S. Postal Service or interstate

   wires or caused the U.S. Postal Service or interstate wires to deliver each and every email,

   electronic transfer, letter, mailing, and other uses of the mail and wire described in paragraphs

   105-120, supra.

180. Upon information and belief, some of the wire communications described above occurred

   between persons in the same state but crossed interstate borders by reason of the technology and

   other mechanisms used to transmit the communication.

181. Each and every use of the U.S. Postal Service or interstate wires described above was

   committed by COP acting singly and in concert, personally or through its agents, with the

   specific intent to defraud GADDY and other class members or for obtaining the money or

   property of GADDY and other class members by means of false or fraudulent pretenses,

   representations, or promises. COP’s acts of mail and wire fraud in violation of 18 U.S.C. §§

   1341 and 1343 constitute racketeering activity as defined by 18 U.S.C. § 1961(1)(B).

182. GADDY and other class members suffered, continue to suffer, and will suffer substantial

   injures by reason of COP’s acts of racketeering

                                 FIRST CAUSE OF ACTION:

                                   COMMON LAW FRAUD




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            57
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.59      Page 58 of 75




183. Plaintiff incorporates paragraphs 1-182 of the Complaint as though fully set forth herein.

   Since at least the date that COP was incorporated in 1923, up until the present time, COP, by

   and through its employees and agents, has made materially false statements of fact

   concerning the very foundation of Mormonism. These materially false statements of fact

   include but are not limited to: A) Smith’s first vision of 1820 was something more than a

   Christian theophany. At a time of religious confusion, he went to a grove of trees to pray.

   There, he saw two personages in a pillar of light. One deferred to the other and said, “This is

   my beloved Son, hear him.” That personage told Smith that all [religious] creeds were wrong

   and that all those who professed such creeds were an abomination. However, Smith’s first

   vision was not what the Mormon hierarchy has represented it to be; and, B) that Smith

   translated the Book of Mormon from gold plates, inscribed in reformed Egyptian language

   with the histories and teachings of ancient Americans whose Hebrew ancestors had migrated

   from Israel; and, C) that the canonized Book of Abraham is an accurate translation from

   Egyptian papyri of writings not only about, but by the Hebrew prophet Abraham.

184. With respect to all three of the above-referenced facts, the general correlated version is as

   indicated above in paragraphs 64, 76-83, and 92-96, supra. Upon information and belief, the

   uncorrelated true version of any and or all of these facts has never been disclosed to the lay

   Mormon in student educational manuals, missionary materials, never in the biannual General

   Conference, and or never in the local wards, branches or stakes over the pulpit, or to the

   members in lesson manuals. The materiality of these misrepresented facts cannot be disputed.

   Their importance was admitted long ago. The faith crisis report substantiates the materiality


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          58
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19      PageID.60       Page 59 of 75




   of said misrepresented facts, in that being told lies about any or all of these facts is the top

   reason that Mormons abandon Mormonism.

185. COP by and through its employees and agents made the above statements knowing they

   were false, and or recklessly and without regard for their truth; and,

186. COP, acting through its employees and agents intended that Plaintiff GADDY and others

   similarly situated would rely on the statements; and,

187. GADDY and others similarly situated did in fact reasonably rely on the statements; and,

188. GADDY and others similarly situated suffered damages as more specifically described

   below as a result of relying on any or all of the statements.

                                   SECOND CAUSE OF ACTION:

         FRAUD IN THE INDUCEMENT TO ENTER INTO AN ORAL CONTRACT

189. Plaintiff incorporates paragraphs 1-188 as though fully set forth herein.

190. Defendant COP by and through its employees and/or agents made false statements of

   material fact and misrepresentations intending that its members and potential members rely

   on those [mis] representations.

191. Defendant COP, either knew that the representations were false or made the representations

   recklessly without sufficient knowledge upon which to base the representations:

192. COP intended that Plaintiff and similarly situated Mormon members and potential

   members would rely on them so that they would either remain in, or join the organization and

   pay tithing and other money to COP.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                               59
Case 2:19-cv-00554-RJS          Document 2       Filed 08/05/19       PageID.61      Page 60 of 75




193. With that reliance, Plaintiff and others like her ultimately took steps to qualify to take out

   her/their endowment so that she/they could serve missions. These young people continued to

   stay qualified, by among other things, continuing to pay a full tithe, so that she and they

   could, for example, attend a COP-owned college or university and eventually be married in

   an LDS temple.

194. Defendant COP made the offer of Mormon Church membership and the right to enter the

   temple and engage in its ceremonies only upon condition of, and in exchange for, a full

   payment of 10% of one’s income.

195. COP, by and through its employees, made these misrepresentations in order to induce

   reliance by Plaintiff and others similarly situated.

196. Plaintiff and others like her paid 10% of their income as consideration for the right to be an

   endowed Church member (one worthy to enter the temple) and/or regular member at

   baptism.

197. Plaintiff and others reasonably relied on COP’s false statements and [mis] representations

   of material fact in that Plaintiff and others like her were in an inferior position compared to

   COP’s leaders/employees/agents in that COP’s leaders and/or employees and/or agents had

   superior access to accurate information upon which the misrepresentations were based. This

   information has been stored in a vault in Cottonwood canyon, and/or a floor of the Church

   Office Building (COB) for decades and includes primary source histories and documents,

   including the seer stone that Smith used to create the Book of Mormon. though lay members

   have been denied access to the vault and its contents.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           60
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.62       Page 61 of 75




198. An implied oral contract was thus entered into with Plaintiff and others like her and the

   COP. Said contract was renewed annually through the payment of a full tithe and biannually

   through re-issuance of an updated temple recommend.

199. Upon discovery of the falsity of the factual [mis] representations about the restoration of

   the gospel, including but not limited to the truth of Smith’s first vision, the true manner in

   which the Book of Mormon was created and that the Book of Abraham was not written by the

   Hebrew prophet, not did it concern his life or teachings, the very foundational facts of

   Mormonism, Plaintiff and others in similar positions vis a vis Defendant COP, disassociated

   and or resigned from the Mormon Church in order to maintain their integrity.

200. When the misrepresentations were made, Plaintiff and upon information and belief the

   other Class members, had no knowledge of their falsity, nor reason to suspect as such, having

   been told to trust their leaders. Thus, they reasonably relied upon the false statements of

   material fact.

201. Had Plaintiff and others like her known of the false statements and [mis] representations of

   fact as described above, they would not have entered into the contract with Defendant COP.

202. Reliance caused Plaintiff, LAURA GADDY, and upon information and belief, other

   members of the prospective class, injury in the form of loss of substantial amounts of money

   paid to COP, and the loss of months if not years of their lives serving a mission for a religion

   based on a lie, all due to Defendant’s continued and indeed ongoing misrepresentations of

   Mormonism’s important foundational facts.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                             61
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.63      Page 62 of 75




203. Reliance caused Plaintiff and other Class members emotional and psychosocial distress in

   the form of living a life and making major life decisions based upon untruths, partial truths

   and omissions.

204. Wherefore, GADDY individually and on behalf of the Class, elects to sue for money

   damages for fraudulent inducement to contract as allowed under Utah Code §70A-2-721.

                                  THIRD CAUSE OF ACTION:

                BREACH OF EQUITABLY IMPOSED FIDUCIARY DUTIES

205. GADDY hereby incorporates paragraphs 1-204 above, as though fully set forth herein.

206. At all relevant times herein, GADDY and those like her had a relationship between

   Defendant COP employees and agents, as alleged in the facts pleaded above, which

   constitute a circumstance where equity should imply a fiduciary duty, due to the trust that

   COP, by and through its employees, invited to be placed in the Mormon Brethren and GAs,

   as well as in the local authorities such as stake presidents and bishops.

207. Specifically, COP hierarchical leaders’ rhetoric included common oft-repeated precepts

   such as, the [Mormon] leaders, the Brethren, and/or the prophet, will never lead you astray,

   and similar statements. From a very early age, Plaintiff and others like her became, indeed

   were groomed during childhood to become a trusting girl and then young woman, who has

   been induced to relax the care and vigilance she would otherwise ordinarily exercise for her

   own spiritual welfare.

208. Plaintiff and others similarly situated reasonably placed more than mere confidence in

   Defendant’s agents in that at the repeated behest of COP’s agent-leaders, both hierarchal and


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          62
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19       PageID.64       Page 63 of 75




   local, she and they reasonably reposed trust in numerous COP leader-employee-agents and

   relied on their guidance for all matters spiritual and those attendant issues related to spiritual

   matters, such as whether to serve a Mormon mission, where to attend university and or whom

   and where to marry.

209. COP and its employee/agent leaders easily could have and did in fact exercise

   extraordinary influence over GADDY and credulous young Mormons like her.

210. Said extraordinary influence and sustained restrictions and manipulation of these young

   persons’ lives was and continues to be a form of mind control.

211. And, as older more experienced persons, in particular, men who hold the priesthood, COP

   and its agent-leaders at all relevant times stood in a dominant position to GADDY and the

   Class. Indeed, GADDY and persons similarly situated are those who are groomed as

   children to follow the Mormon leaders without question. The following precepts have been

   and still are published and often repeated to GADDY and those similarly situated: “When the

   prophet has spoken the thinking is done.” And, “...it is wrong to criticize the prophet, even if

   that criticism is true,” which are dangerous precepts that lead to the mind control of the

   young and innocent.

212. Persons such as Plaintiff GADDY were given little if any time to investigate these claims

   independently since COP keeps young people and other members busy with not only (until

   2018 when Sunday meetings were changed to two hours) three hours of Sunday attendance,

   but other meetings during the week and for many members of the Class, daily seminary

   (usually early morning) study from age 14 onward while attending high school.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           63
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19         PageID.65   Page 64 of 75




213. COP implored and continues to urge Mormons, in particular the young, to prepare for a

   mission to be served shortly after high school graduation, wherein they are further

   indoctrinated into Mormonism. On their missions their minds are deeply controlled, with

   daily indoctrination, no personal space and no time or opportunity to explore any way of

   living other than the Mormon way.

214. Once they have returned from their missions, and despite the fact that many baptize few

   during their service, their investment and immersion in the Mormon society and culture is so

   high that it takes years, even decades, before many dare inquire about Mormonism’s

   foundational facts, let alone develop the ability to critically think for themselves and begin to

   question COP, its leader-employee-agents and what they have been taught throughout a

   lifetime.

215. GADDY and incredulous young persons like her, reasonably relied on the false statements

   of fact and [mis]representations set forth above about the source of Mormonism as being

   correctly translated records of ancient American descendants of Israel by Smith who had

   been told in his first vision that all religious creeds were false.

216. But for their reasonably placed and cultivated trust and ensuing reliance, GADDY and

   others like her would not have spent years or even decades, dedicated to the Mormon

   Corporate Empire, its leaders and precepts, without inquiring into other beliefs and ways of

   living.

217. Defendant COP by and through its agents took improper advantage of their collective

   superior knowledge, access to information, and positions of authority and made false


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          64
Case 2:19-cv-00554-RJS          Document 2        Filed 08/05/19    PageID.66       Page 65 of 75




   statements and misrepresentations of fact as to the true foundational history of Mormonism,

   and intentionally hid and or omitted important facts from GADDY and others like her.

218. COP leader employee/agents, both hierarchal and local, had a fiduciary relationship with

   Plaintiff and others like. Said relationship includes, among other duties, a duty of full

   disclosure.

219. COP and its agents breached that duty when, in addition to false statements of fact over the

   decades, failed to fully disclose the truth of Mormonism’s historical foundation. Specifically,

   the seer stone that Smith used to divine the Book of Mormon was kept hidden in the Church

   vault for the life of GADDY and others similarly situated. Importantly, upon information and

   belief, the fact of the seer stone used by Smith to create the Book of Mormon was NOT

   mentioned in Sunday school, General Conference or in stakes, wards or branches until

   sometime in 2017 or later (if ever) after a 2016 address was given to CES employees to

   become familiar with the controversial aspects of Mormon history. Thus, lay Mormons like

   GADDY and other potential class members remained unaware of the true story of how the

   Book of Mormon was created.

220. Indeed, COP decided NOT to generally divulge the troubling facts of Mormon history, but

   rather to inoculate the members in a piecemeal limited fashion with some of the

   controversial, but true history. If one had been subject to COP’s agent leaders tactics of mind

   control and didn’t happen to stumble across the true facts of Mormon history, one may never

   have had a reason to question everything taught by COP’s agent-leaders, including the

   historical facts of its history as previously identified.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                        65
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.67       Page 66 of 75




221. Said deceptive acts were a cause of Plaintiff’s harm and the harm suffered by others like

   her in in that had GADDY and others like her known the truth, they would not have

   continued to donate to the organization, represent it as a missionary, preach that Mormonism

   was something it wasn’t, pay 10% of their income to COP, attend Mormon universities and

   or marry another Mormon in Mormon temples.

                                 FOURTH CAUSE OF ACTION:

                                FRAUDULENT CONCEALMENT

222. Plaintiff hereby incorporates paragraphs 1-221 above as though fully set forth herein.

223. GADDY was in the type of relationship with COP’s agent/leaders that gave COP a duty to

   disclose an important fact to her and others like her.

224. COP knew the true facts of Smith’s first vision, that the Book of Mormon was created by

   looking at a seer stone in a hat and was not a direct translation from golden plates inscribed

   with the histories and teachings of ancient Americans with Hebrew ancestry and that the

   Book of Abraham was not written by the hand of the Hebrew prophet Abraham, nor did it

   depict him in facsimiles contained therein, among other material historical facts of

   Mormonism.

225. COP intentionally failed to disclose those facts to GADDY and others like her, similarly

   situated, by covering up, lying, distorting, hiding, obfuscating, and instructing their

   employees and agents to teach only a false and or whitewashed version of Mormon history.

226. Additionally, even though COP was advised of the emotional and psychosocial injury to

   members who came to know the true Mormon history, COP and its employees, acting in loco


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          66
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19     PageID.68       Page 67 of 75




   parentis and refusing to appreciate that the members deserve to know the truth of Mormon

   foundations and to make their own decisions based on that truth, revealed the true facts in

   only a limited piecemeal way, thereby continuing the tort of fraudulent concealment to this

   very day where COP through its agents continues to post false pictures of the manner in

   which Smith created the Book of Mormon, of his first vision, and of the true details of the

   Book of Abraham.

227. GADDY and those like her did not know about true facts of Smith’s first vision, that the

   Book of Mormon was created by looking at a seer stone in a hat and was not a direct

   translation from gold plates inscribed with the histories and teachings of ancient Americans

   with Hebrew ancestry, or that the Book of Abraham was not written by the hand of the

   Hebrew prophet Abraham, and that it did not depict him in facsimiles contained therein,

   among other material historical facts of Mormonism.

228. GADDY and those like her reasonably relied on the misrepresentations of fact identified

   above.

229. GADDY and others like her were damaged as a result of COP’s intentional or reckless

   concealment of any or all of the above enumerated foundational facts as well as others.

230. Defendant COP’s failure to disclose the true facts of Smith’s first vision, that the Book of

   Mormon was created by looking at a seer stone in a hat and was not a translation from gold

   plates inscribed with the histories and teachings of ancient Americans with Hebrew ancestry

   and/or that the Book of Abraham was not written by the Hebrew prophet Abraham, nor did it




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          67
Case 2:19-cv-00554-RJS             Document 2    Filed 08/05/19      PageID.69       Page 68 of 75




   depict his life and insights was a direct cause and or a substantial factor in causing the

   damages suffered by GADDY and others like her.

                                     FIFTH CAUSE OF ACTION:

                                   CIVIL RICO —18 U.S.C. § 1962(c)

231. GADDY realleges and incorporates by reference her allegations in paragraphs 1-230 above

   as if fully set forth herein.

232. The Mormon Corporate Empire (consisting of COP, CES, CC, IRI, Deseret Management,

   Inc., Bonneville International Corp., and the local individuals who lead the Mormon Church

   (or any subset thereof)) constitute an “enterprise,” within the meaning of 18 U.S.C.

   §§1961(4) & 1962(c), in that they are “a group of individuals associated in fact.”

               a.)     The members of the Mormon Corporate Empire shared the common

               purpose(s) of (among other things) defrauding Mormons of money or property

               and publishing and otherwise disseminating false facts relating to (among other

               things) Smith’s first vision, Smith’s creation of the Book of Mormon, and Smith’s

               translation of the Book of Abraham.

               b.)     The members of the Mormon Corporate Empire are related in that they are

               all involved in the correlation and publication of Mormon propaganda and in the

               collection and transfer of money from individual Mormons to the Defendant COP.

               c.)     The Mormon Corporate Empire possesses sufficient longevity for the

               members to carry out their purpose(s) in that the Mormon Corporate Empire has

               existed (at a minimum) from the early twentieth century through the present.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         68
Case 2:19-cv-00554-RJS          Document 2      Filed 08/05/19      PageID.70       Page 69 of 75




233. COP is a “person” within the meaning of 18 U.S.C. §§1961(3) & 1962(c), who conducted,

   participated in, engaged in, and operated and managed the affairs of the Mormon Educational

   Empire through a pattern of racketeering activity within the meaning of 18 U.S.C. §§1961(1),

   1961(5) & 1962(c). This pattern of racketeering activity consisted of, but was not limited to,

   acts of mail and wire fraud as set forth in Paragraphs 104-119, and 175-182, supra.

234. In the alternative to Paragraphs 232-233, above, the Mormon Educational Empire

   (consisting of all individual Mormon missionaries, all individual General Conference

   speakers and organizers, and all Mormon-sponsored primary, secondary, undergraduate, and

   graduate institutions of learning (or any subset thereof)) constituted an “enterprise,” within

   the meaning of 18 U.S.C. §§1961(4) & 1962(c), in that they are “a group of individuals

   associated in fact.”

              a).     The members of the Mormon Educational Empire shared the common

              purpose(s) of (among other things) publishing and otherwise disseminating false

              facts relating to (among other things) Smith’s first vision, Smith’s creation of the

              Book of Mormon, and Smith’s translation’ of the Book of Abraham.

              b).     The members of the Mormon Educational Empire are related in that they

              are all involved in the publication and dissemination of Mormon propaganda.

              c).         The Mormon Educational Empire possesses sufficient longevity for the

              members to carry out their purpose(s) in that the Mormon Educational Empire has

              existed (at a minimum) from the early twentieth century through the present.




PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         69
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.71       Page 70 of 75




235. COP is a “person” within the meaning of 18 U.S.C. §§1961(3) & 1962(c), who conducted,

   participated in, engaged in, and operated and managed the affairs of the Mormon Educational

   Empire through a pattern of racketeering activity within the meaning of 18 U.S.C. §§1961(1),

   1961(5) & 1962(c). This pattern of racketeering activity consisted of, but was not limited to,

   acts of mail and wire fraud as set forth in Paragraphs 104-119 (above). At all relevant times,

   the enterprises alleged in paragraphs 232-235 (above) were engaged in, and their activities

   affected, interstate commerce.

236. All of the acts of racketeering described in paragraphs 104-119, and 175-182 (above) were

   related so as to establish a pattern of racketeering activity, within the meaning of 18 U.S.C.

   §1962(c), in that their common result was to defraud GADDY and other class members of

   money and property; COP, through its employees, members, or agents, directly or indirectly,

   participated in the acts and employed the same or similar methods of commission; GADDY

   and other class members were the victims of the acts of racketeering; and/or the acts of

   racketeering were otherwise interrelated by distinguishing characteristics and were not

   isolated events.

237. All of the acts of racketeering described in Paragraphs 104-119, and 175-182 (above) were

   continuous so as to form a pattern of racketeering activity in that the COP engaged in the

   predicate acts over a substantial period (from the early 20th Century to the present) or in that

   acts of racketeering are ongoing and threaten to continue indefinitely.

238. As a direct and proximate result of, and by reason of, the activities of COP and its conduct

   in violation of 18 U.S.C. §1962(c), GADDY and other class members have been injured in


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          70
Case 2:19-cv-00554-RJS         Document 2       Filed 08/05/19      PageID.72      Page 71 of 75




   their business or property, within the meaning of 18 U.S.C. §1964(c). Among other things,

   GADDY and other class members suffered damages, i.e., damages to the extent they donated

   money, time and effort to the Mormon Church in reliance upon the COP’s misrepresentations

   concerning (among other things) Smith’s first vision, Smith’s creation of the Book of

   Mormon, and Smith’s translation of the Book of Abraham. GADDY and other class members

   are, therefore, entitled to recover threefold the damages they sustained together with the cost

   of the suit, reasonable attorneys’ fees and reasonable experts’ fees.

239. To the extent this Complaint seeks damages for personal injuries and emotional distress,

   such damages are not sought pursuant to this count. Damages sought pursuant to this count

   are limited to injuries to GADDY’s and the other class members’ business or property.

240. WHEREFORE GADDY and the other class members demand judgment COP for the

   following: Treble damages pursuant to 18 U.S.C. §1964(c); Attorney fees and costs pursuant

   to 18 U.S.C. §1964(c); and such other and further relief as this Court may deem just and

   proper

                                  SIXTH CAUSE OF ACTION:

                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

241. Plaintiff repeats and realleges paragraphs 1-240, (above) of this Complaint and

   incorporates those paragraphs herein by reference.

242. COP’s above-described conduct consisting of knowingly and repeatedly misrepresenting

   the foundational facts of its organization, offends generally accepted standards of decency

   and morality. Hiding Smith’s seer stone used to translate the Book of Mormon in a secret


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          71
Case 2:19-cv-00554-RJS         Document 2        Filed 08/05/19      PageID.73       Page 72 of 75




   vault for decades if not over a century, teaching lay members a false version of its history

   while hiding the true facts was, and continues to be so extreme as to exceed all bounds of

   what is usually tolerated in a civilized community, and in this particular case, especially by

   an ostensibly religious organization who purports to espouse the attributes of honesty,

   including both lies and omissions.

243. COP’s conduct in initially misrepresenting its foundational facts and continuing conduct of

   concealing access to those facts, was and is more than merely unreasonable, unkind, or

   unfair. It is the height of hypocrisy, and abuse, encompassing not only a pious, but an

   ongoing pervasive secular fraud which has damaged Plaintiffs at an existential level.

244. The significant injuries to its members have been documented in the aforementioned faith

   crisis report, including but not limited to emotional harm in the form of existential crises,

   suicides [and presumably suicidal ideation for some], destruction of familial relationships,

   insomnia, anxiety and depression, for Plaintiff, and upon information and belief for many if

   not most others of the Class who have acknowledged the true historical facts, among other

   survey-based studies and reports which serve to support the severity of the distress inflicted.

245. As of at least the date the faith crisis report was published, COP had actual and

   comprehensive knowledge of the devastating effect of its fraudulent conduct. COP made

   some limited effort to address the inaccuracies of the long-standing orthodox narrative

   through the serial publication of its essays. However, the failure to announce the publication

   to the general membership, and indeed the concealing of the very existence as well as content

   of the essays due to desires to inoculate the credulous, along with the continuation to spin the


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                            72
Case 2:19-cv-00554-RJS         Document 2         Filed 08/05/19     PageID.74       Page 73 of 75




   foundational facts amidst quasi-corrective admissions with limited distribution, is so extreme

   as to offend the very standards of decency and morality which Mormonism claims, and

   which moral principles, in particular honesty, it instructs its lay members to practice. This is

   particularly true considering the continued promises that the GAs, the Brethren and the

   prophet will never lead the members astray.

246. Said infliction of emotional distress is continuing and ongoing since there are close family

   and friends of Plaintiff and of the friends and families of each member of the Class who

   believe that Plaintiff and Class members are evil, of the devil, spew Anti-Mormon lies, etc.,

   due to their questioning of and disagreement with COP’s orthodox, yet false narrative. This

   schism among members and former members has led to a myriad of emotional distress, such

   as depression, cognitive dissonance, manifest in divorce, shunning and estrangement as more

   fully documented in the faith crisis report.

247. Adoption of a passive aggressive personality has also been documented among young LDS

   students due to the dissonant instruction by COP’s employees and agents as set forth in the

   correlated rhetoric when compared with the accurate foundational facts of Mormon history.

   Former members, questioning members and even current members suffer this distress as

   well.

248. Said damage will continue until and unless the COP’s top hierarchal employees and local

   agent-leaders make unequivocal statements owning their prior longstanding false statements

   and intentional or reckless [mis]representations of foundational fact and fully acknowledge

   the truth of those facts to all members and potential members. Only then will the significant


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                          73
Case 2:19-cv-00554-RJS           Document 2       Filed 08/05/19    PageID.75      Page 74 of 75




    damage to the mental and emotional health of former and questioning members and to the

    relationships, both familial and collegial, amongst those subsets of members, questioning

    members and former members, begin to heal.

                                     X. PRAYER FOR RELIEF
WHEREFORE, Plaintiff LAURA GADDY, individually and on behalf of the Class, prays for the

following relief:

1. An order certifying the Class as defined above, appointing Plaintiff LAURA GADDY as the

  representative of the Class, and appointing her counsel as Class Counsel; and

2. An award of special damages in the actual out-of-pocket monetary loss from such violations in

  the sum of the amount that Plaintiff and each class member has paid in tithing, tuition and/or

  personal missionary expense over the course of their affiliation with the Mormon Corporate

  Empire; and

3. An award of reasonable attorneys’ fees and non-taxable costs to be paid out of the common

  fund prayed for above; and/or an award of costs and attorneys’ fees as provided under RICO;

  and

4. An award of treble damages under the RICO cause of action; and

5. General Damages for causes of action other that brought under RICO; and

5. Punitive damages for all common law fraud-based claims, breach of fiduciary duty and

  intentional infliction of emotional distress; and

6. For interest at the judicial rate; and

7. Such other and further relief that the Court deems reasonable and just.


PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                         74
Case 2:19-cv-00554-RJS           Document 2         Filed 08/05/19       PageID.76       Page 75 of 75




                                        XI. JURY DEMAND

Plaintiffs request a trial by jury of all claims that can be so tried.
                                                 Respectfully Submitted,


Dated: the 5th day of August, 2019               By: /s/ Kay Burningham
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PROPOSED CLASS ACTION COMPLAINT (DEMAND FOR JURY TRIAL)                                           75
